796 F.2d 598
    55 USLW 2079
    Frank M. MILLER, Jr., Appellant,v.Peter J. FENTON, Superintendent, Rahway State Prison, IrwinI. Kimmelman, Attorney General, State of NewJersey, Appellees.
    No. 83-5530.
    United States Court of Appeals,Third Circuit.
    Argued Jan. 16, 1986.Decided June 26, 1986.
    
      Joseph H. Rodriguez, Public Defender, Paul M. Klein (argued), Claudia Van Wyk, Asst. Deputy Public Defenders, East Orange, N.J., for appellant.
      Irwin I. Kimmelman, Atty. Gen., Anne C. Paskow (argued), Deputy Atty. Gen., Div. of Crim. Justice, Appellate Section, Trenton, N.J., for appellees.
      Before SEITZ, GIBBONS and BECKER, Circuit Judges.
      OPINION OF THE COURT
      BECKER, Circuit Judge.
    
    
      1
      This state habeas corpus appeal requires us to determine whether a confession to murder, alleged by the petitioner to have been secured by psychological coercion, was voluntary and hence admissible.  After reviewing the circumstances of the confession under a plenary standard, see Miller v. Fenton, --- U.S. ----, 106 S.Ct. 445, 88 L.Ed.2d 405 (1985), rev'g Miller v. Fenton, 741 F.2d 1456 (3d Cir.1984), we find that the confession was voluntary.  We therefore affirm.
    
    I. THE FACTUAL BACKGROUND
    
      2
      On August 13, 1973, seventeen-year-old Deborah Margolin was brutally murdered.  According to her brothers, she was sitting on the porch of her home in rural East Amwell Township when a stranger approached in an automobile and informed her that a heifer was loose at the bottom of the driveway.  Ms. Margolin drove alone in her brother's car to retrieve the heifer.  She never returned.  Later that day, her father found her mutilated body lying face down in a creek.
    
    
      3
      When the New Jersey State Police arrived at the scene, the victim's brothers gave them a description of the stranger who had driven up to the house and of the car he had driven, an old white car with the trunk tied shut and two dents in the side.  One of the officers recalled that the petitioner, Miller, who lived nearby, drove a car that matched that description.  Detective Boyce of the State Police confirmed the description of the car and also concluded that the description of the stranger fit Miller, who had been convicted in 1969 of carnal abuse and arrested in 1973 for statutory rape.
    
    
      4
      At about 10:50 p.m. that day, the state police questioned Miller at his place of employment, P.F.D. Plastics in Trenton.  After a brief discussion, he agreed to accompany the officers to the police barracks for further questioning.  At the barracks, Miller spent about seventy-five minutes waiting with Trooper Scott, during which time he was not questioned.  He was then taken into an interrogation room by Detective Boyce and read his Miranda rights.  Miller signed a Miranda card, thus waiving his Miranda rights,1 and Boyce's interrogation ensued.  One hour into the interrogation, Miller confessed to the murder of Deborah Margolin, then passed out.
    
    II. PROCEDURAL HISTORY
    
      5
      Miller was indicted for first-degree murder.  Before his trial, he moved to suppress the confession as involuntary, but the state trial court denied the motion.  After a trial at which the confession was received as evidence, Miller was convicted.  On appeal of the conviction, a three-judge panel of the Appellate Division of the New Jersey Superior Court unanimously reversed, finding that Detective Boyce's technique in eliciting the confession2 had denied Miller due process of law.  Characterizing Boyce's method of interrogation as "psychological pressure," the panel held that as a result of that pressure, Miller's confession had not been voluntary.3   In a 4-3 decision, the New Jersey Supreme Court reversed the Appellate Division and reinstated the conviction.   State v. Miller, 76 N.J. 392, 388 A.2d 218 (1978).  Looking at the totality of the circumstances, the court held that Boyce's interrogation tactics had not overborne Miller's will, and that the confession had indeed been voluntary and thus properly admissible into evidence.
    
    
      6
      Miller petitioned for a writ of habeas corpus in the United States District Court for the District of New Jersey.  The petition was referred to a magistrate, who recommended that the writ be denied.  The district court agreed, rejecting Miller's contention that Boyce's questioning created psychological pressure that rendered the confession involuntary.  Miller thereupon appealed to this Court.
    
    
      7
      In Miller v. Fenton, 741 F.2d 1456 (3rd Cir.1984), rev'd and remanded --- U.S. ----, 106 S.Ct. 445, 88 L.Ed.2d 405 (1985), we held that under 28 U.S.C. Sec. 2254(d), federal review of the state court's finding of voluntariness was deferential, limited to determining whether the state court had applied the proper legal test and whether the conclusion reached by the state court was supported by the record as a whole.4   Applying that standard, we upheld the determination that Miller's confession was voluntary.  Although we noted in passing that even if our review on the question of voluntariness had been plenary, we would have reached the same result, id. at 1467 n. 21, we did not engage in any detailed analysis of the question of voluntariness under a plenary standard.
    
    
      8
      The United States Supreme Court granted certiorari and reversed.    Miller v. Fenton, --- U.S. ----, 106 S.Ct. 445, 88 L.Ed.2d 405 (1985).  Stating that the issue of voluntariness is a legal, rather than a factual, question, the Court held that whether the challenged confession was voluntary is a matter for independent federal appellate determination.  It remanded the case so that we might conduct a fuller analysis under the correct standard.  We now engage in such an inquiry and conclude that Miller's confession was elicited in a manner compatible with the requirements of the Constitution.
    
    III. THE INTERROGATION
    
      9
      At the outset of our analysis, it is essential that we review the salient features of the interrogation.5   Because the state police taped the interrogation, we have had an opportunity actually to hear Detective Boyce's questions and Miller's responses.  A significant portion of the questioning was in the typical police interrogation mode, developing chronologically Miller's whereabouts on the day in question, confronting him with the identification of his car, asking him point-blank whether he committed the crime, challenging his answers, and attempting to discover the details of the crime.  This element of the interrogation is unexceptionable and unchallenged.  We shall therefore focus primarily on the features of the interrogation that are at issue.
    
    
      10
      It is clear that Boyce made no threats and engaged in no physical coercion of Miller.  To the contrary, throughout the interview, Detective Boyce assumed a friendly, understanding manner and spoke in a soft tone of voice.  He repeatedly assured Miller that he was sympathetic to him and wanted to help him unburden his mind.  As the following excerpts demonstrate, the Detective's statements of sympathy at times approached the maudlin:
    
    
      11
      Boyce:  Now listen to me, Frank.  This hurts me more than it hurts you, because I love people.
    
    
      12
      * * *
    
    
      13
      * * *
    
    
      14
      Boyce:  Let it come out, Frank.  I'm here, I'm here with you now.  I'm on your side, I'm on your side, Frank.  I'm your brother, you and I are brothers, Frank.  We are brothers, and I want to help my brother.
    
    
      15
      * * *
    
    
      16
      * * *
    
    
      17
      Boyce:  We have, we have a relationship, don't we?    Have I been sincere with you, Frank?
    
    
      18
      Boyce also gave Miller certain factual information, some of which was untrue.  At the beginning of the interrogation, for example, Boyce informed Miller that the victim was still alive;  this was false.  During the interview, Boyce told Miller that Ms. Margolin had just died, although in fact she had been found dead several hours earlier.
    
    
      19
      Detective Boyce's major theme throughout the interrogation was that whoever had committed such a heinous crime had mental problems and was desperately in need of psychological treatment.  From early in the interview, Detective Boyce led Miller to understand that he believed that Miller had committed the crime and that Miller now needed a friend to whom he could unburden himself.  The Detective stated several times that Miller was not a criminal who should be punished, but a sick individual who should receive help.  He assured Miller that he (Detective Boyce) was sincerely understanding and that he wished to help him with his problem.  The following excerpts from the transcript of the interrogation provide examples of the statements about Miller's having psychological problems, as well as of the assurances of help:
    
    
      20
      Boyce:  [L]et's forget this incident, [l]et's talk about your problem.  This is what, this is what I'm concerned with, Frank, your problem.
    
    
      21
      Miller:  Right.
    
    
      22
      Boyce:  If I had a problem like your problem, I would want you to help me with my problem.
    
    
      23
      Miller:  Uh, huh.
    
    
      24
      Boyce:  Now, you know what I'm talking about.
    
    
      25
      Miller:  Yeah.
    
    
      26
      Boyce:  And I know, and I think that, uh, a lot of other people know.  You know what I'm talking about.  I don't think you're a criminal, Frank.
    
    
      27
      Miller:  No, but you're trying to make me one.
    
    
      28
      Boyce:  No I'm not, no I'm not, but I want you to talk to me so we can get this thing worked out.
    
    
      29
      * * *
    
    
      30
      * * *
    
    
      31
      Boyce:  I want you to talk to me.  I want you to tell me what you think.  I want you to tell me how you think about this, what you think about this.
    
    
      32
      Miller:  What I think about it?
    
    
      33
      Boyce:  Yeah.
    
    
      34
      Miller:  I think whoever did it really needs help.
    
    
      35
      Boyce:  And that's what I think and that's what I know.  They don't, they don't need punishment, right?    Like you said, they need help.
    
    
      36
      Miller:  Right.
    
    
      37
      Boyce:  They don't need punishment.  They need help, good medical help.
    
    
      38
      Miller:  That's right.
    
    
      39
      Boyce:  [T]o rectify their problem.  Putting them in, in a prison isn't going to solve it, is it?
    
    
      40
      Miller:  No, sir.  I know, I was in there for three and a half years.
    
    
      41
      * * *
    
    
      42
      * * *
    
    
      43
      Boyce:  You can see it Frank, you can feel it, you can feel it but you are not responsible.  This is what I'm trying to tell you, but you've got to come forward and tell me.  Don't, don't, don't let it eat you up, don't, don't fight it.  You've got to rectify it, Frank.  We've got to get together on this thing, or I, I mean really, you need help, you need proper help, and you know it, my God, you know, in God's name, you, you, you know it.  You are not a criminal, you are not a criminal.
    
    
      44
      Boyce also appealed to Miller's conscience and described the importance of Miller's purging himself of the memories that must be haunting him.  This aspect of the interrogation is exemplified in the preceding passage--"Don't, don't, don't let it eat you up, don't, don't fight it.  You've got to rectify it, Frank."    The following excerpts are representative of Boyce's arguments along this line:
    
    
      45
      Boyce:  Frank, listen to me, honest to God, I'm, I'm telling you, Frank, (inaudible).  I know, it's going to bother you, Frank, it's going to bother you.  It's there, it's not going to go away, it's there.  It's right in front of you, Frank.  Am I right or wrong?
    
    
      46
      Miller:  Yeah.
    
    
      47
      * * *
    
    
      48
      * * *
    
    
      49
      Boyce:  Honest, Frank.  It's got to come out.  You can't leave it in.  It's hard for you, I realize that, how hard it is, how difficult it is, I realize that, but you've got to help yourself before anybody else can help you.
    
    
      50
      * * *
    
    
      51
      * * *
    
    
      52
      Boyce:  First thing we have to do is let it all come out.  Don't fight it because it's worse, Frank, it's worse.  It's hurting me because I feel it.  I feel it wanting to come out, but it's hurting me, Frank.
    
    
      53
      * * *
    
    
      54
      * * *
    
    
      55
      Boyce:  No, listen to me, Frank, please listen to me.  The issue now is what happened.  The issue now is truth.  Truth is the issue now.  You've got to believe this, and the truth prevails in the end, Frank.  You have to believe that and I'm sincere when I'm saying it to you.  You've got to be truthful with yourself.
    
    
      56
      * * *
    
    
      57
      * * *
    
    
      58
      Boyce:  That's the most important thing, not, not what has happened, Frank.  The fact that you were truthful, you came forward and you said, look I have a problem.  I didn't mean to do what I did.  I have a problem, this is what's important, Frank.  This is very important, I got, I, I got to get closer to you, Frank, I got to make you believe this and I'm, and I'm sincere when I tell you this.  You got to tell me exactly what happened, Frank.  That's very important.  I know how you feel inside, Frank, it's eating you up, am I right?    It's eating you up, Frank.  You've got to come forward.  You've got to do it for yourself, for your family, for your father, this is what's important, the truth, Frank.
    
    
      59
      When Miller at last confessed, he collapsed in a state of shock.  He slid off his chair and onto the floor with a blank stare on his face.  The police officers sent for a first aid squad that took him to the hospital.
    
    IV. THE VOLUNTARINESS OF THE CONFESSION
    
      60
      The sole question before this Court is whether Miller's confession was voluntary.  Miller contends that Detective Boyce's method of interrogation constituted psychological manipulation of such magnitude that it rendered his confession involuntary.  The government counters that Miller's confession was voluntary and hence properly admissible.
    
    A. The Legal Test of Voluntariness
    
      61
      It is well established that an involuntary confession may result from psychological, as well as physical, coercion.   See, e.g., Blackburn v. Alabama, 361 U.S. 199, 206, 80 S.Ct. 274, 279, 4 L.Ed.2d 242 (1960) ("A number of cases have demonstrated, if demonstration were needed, that the efficiency of the rack and the thumbscrew can be matched, given the proper subject, by more sophisticated modes of 'persuasion'.");   Spano v. New York, 360 U.S. 315, 79 S.Ct. 1202, 3 L.Ed.2d 1265 (1959);  Fikes v. Alabama, 352 U.S. 191, 77 S.Ct. 281, 1 L.Ed.2d 246 (1957);  Leyra v. Denno, 347 U.S. 556, 74 S.Ct. 716, 98 L.Ed. 948 (1954);  Watts v. Indiana, 338 U.S. 49, 69 S.Ct. 1347, 93 L.Ed. 1801 (1949);  Turner v. Pennsylvania, 338 U.S. 62, 69 S.Ct. 1352, 93 L.Ed. 1810 (1949);  Harris v. South Carolina, 338 U.S. 68, 69 S.Ct. 1354, 93 L.Ed. 1815 (1949);  Ashcraft v. Tennessee, 322 U.S. 143, 64 S.Ct. 921, 88 L.Ed. 1192 (1944);  Chambers v. Florida, 309 U.S. 227, 60 S.Ct. 472, 84 L.Ed. 716 (1940).  However, while a per se involuntariness rule applies when an interrogation is accompanied by physical violence, see Stein v. New York, 346 U.S. 156, 182, 73 S.Ct. 1077, 1091, 97 L.Ed. 1522 (1953), no such rule applies when the alleged coercion is psychological.   Id. at 184, 73 S.Ct. at 1092.  As the Supreme Court has noted, "[t]he line between proper and permissible police conduct and techniques and methods offensive to due process is, at best, a difficult one to draw, particularly in cases such as this where it is necessary to make fine judgments as to the effect of psychologically coercive pressures and inducements on the mind and will of an accused."   Haynes v. Washington, 373 U.S. 503, 515, 83 S.Ct. 1336, 1344, 10 L.Ed.2d 513 (1963).
    
    
      62
      To determine the voluntariness of a confession, the court must consider the effect that the totality of the circumstances had upon the will of the defendant.   See, e.g., Schneckloth v. Bustamonte, 412 U.S. 218, 226-27, 93 S.Ct. 2041, 2047-48, 36 L.Ed.2d 854 (1973);  Procunier v. Atchley, 400 U.S. 446, 453, 91 S.Ct. 485, 489, 27 L.Ed.2d 524 (1971);  Frazier v. Cupp, 394 U.S. 731, 739, 89 S.Ct. 1420, 1424, 22 L.Ed.2d 684 (1969);  Boulden v. Holman, 394 U.S. 478, 480, 89 S.Ct. 1138, 1139, 22 L.Ed.2d 433 (1969);  Blackburn v. Alabama, supra, 361 U.S. at 206, 80 S.Ct. at 279;  Fikes v. Alabama, supra, 352 U.S. at 197, 77 S.Ct. at 284.  The question in each case is whether the defendant's will was overborne when he confessed.   See, e.g., Schneckloth v. Bustamonte, supra, 412 U.S. at 225-26, 93 S.Ct. at 2046-47;  Procunier v. Atchley, supra, 400 U.S. at 453, 91 S.Ct. at 489;  Haynes v. Washington, supra, 373 U.S. at 513, 83 S.Ct. at 1342 (1963);  Lynumn v. Illinois, 372 U.S. 528, 534, 83 S.Ct. 917, 920, 9 L.Ed.2d 922 (1963);  Culombe v. Connecticut, 367 U.S. 568, 602, 81 S.Ct. 1860, 1879, 6 L.Ed.2d 1037 (1961);  Leyra v. Denno, supra, 347 U.S. at 558, 74 S.Ct. at 717 (1954);  Watts v. Indiana, supra, 338 U.S. at 53, 69 S.Ct. at 1349.  Factors to be considered include:
    
    
      63
      the youth of the accused;  his lack of education or his low intelligence;  the lack of any advice to the accused of his constitutional rights;  the length of detention;  the repeated and prolonged nature of questioning;  and the use of physical punishment such as the deprivation of food or sleep.
    
    
      64
      Schneckloth v. Bustamonte, supra, 412 U.S. at 226, 93 S.Ct. at 2047 (1973) (citations omitted).  As the Eighth Circuit has explained, "[u]sing the flexible totality of the circumstances approach requires the reviewing court to consider the specific tactics utilized by the police in eliciting the admissions, the details of the interrogation, and the characteristics of the accused...."  Rachlin v. United States, 723 F.2d 1373, 1377 (8th Cir.1983) (citations omitted).  Although at the trial level the burden is on the government to establish, by a preponderance of the evidence, that a challenged confession was voluntary, see Lego v. Twomey, 404 U.S. 477, 489, 92 S.Ct. 619, 626, 30 L.Ed.2d 618 (1972), on collateral review, the habeas corpus petitioner must prove involuntariness by a preponderance of the evidence.   See Martin v. Wainwright, 770 F.2d 918, 925 (11th Cir.1985);  Jurek v. Estelle, 623 F.2d 929, 937 (5th Cir.1980);  Bruce v. Estelle, 536 F.2d 1051, 1059 (5th Cir.1976).
    
    
      65
      We emphasize that the test for voluntariness is not a but-for test:  we do not ask whether the confession would have been made in the absence of the interrogation.  Few criminals feel impelled to confess to the police purely of their own accord, without any questioning at all.    See Stein v. New York, supra, 346 U.S. at 186, 73 S.Ct. at 1093 ("Of course, these confessions were not voluntary in the sense that petitioners wanted to make them or that they were completely spontaneous, like a confession to a priest, a lawyer, or a psychiatrist.  But in this sense no criminal confession is voluntary.");   United States v. Wertz, 625 F.2d 1128, 1134 (4th Cir.1980).  Thus, it can almost always be said that the interrogation caused the confession.
    
    
      66
      Moreover, it is generally recognized that the police may use some psychological tactics in eliciting a statement from a suspect.6   See Haynes v. Washington, supra, 373 U.S. at 514-15, 83 S.Ct. at 1343-44.  For example, the interrogator may play on the suspect's sympathies or explain that honesty might be the best policy for a criminal who hopes for leniency from the state, see Rachlin v. United States, supra, 723 F.2d at 1378 (agents may have told suspect that it was in his best interest to cooperate, but resulting confession was voluntary);  United States v. Vera, 701 F.2d 1349, 1363-64 (11th Cir.1983) (agent told suspect that he could help himself by cooperating, but resulting confession was voluntary).  These ploys may play a part in the suspect's decision to confess, but so long as that decision is a product of the suspect's own balancing of competing considerations, the confession is voluntary.  The question we must answer, then, is not whether Detective Boyce's statements were the cause of Miller's confession--indeed, we assume that to be the case--but whether those statements were so manipulative or coercive that they deprived Miller of his ability to make an unconstrained, autonomous decision to confess.  To that inquiry we now turn.
    
    
      67
      B. The Circumstances of the Miller Interrogation
    
    
      68
      A "totality of the circumstances" inquiry defies strictly analytic treatment.  We cannot reach a conclusion simply by scrutinizing each circumstance separately, for the concept underlying the phrase "totality of the circumstances" is that the whole is somehow distinct from the sum of the parts.   See United States v. Wertz, supra, 625 F.2d at 1134.  Nevertheless, we can understand the totality only after reviewing the constituent elements of the situation.  We shall therefore discuss each relevant circumstance of the interrogation before addressing the question whether all of the circumstances, taken together, indicate that Miller's confession was voluntary.7
    
    1. Miller's Background
    
      69
      Miller is a mature adult, thirty-two years of age.  He is of normal intelligence and has some high school education.  Such a person is more resistant to interrogation than a person who is very young, uneducated or weak-minded.   Cf. Davis v. North Carolina, 384 U.S. 737, 86 S.Ct. 1761, 16 L.Ed.2d 895 (1966) (detainee had third- or fourth-grade education and very low IQ);  Fikes v. Alabama, supra (detainee was uneducated person of low intelligence, possibly with mental illness);  Reck v. Pate, 367 U.S. 433, 81 S.Ct. 1541, 6 L.Ed.2d 948 (1961) (detainee was mentally retarded).  Miller was suffering from no painful physical ailment that would have impelled him to confess simply to put an end to the detention.    Cf. Reck v. Pate, supra (detainee physically ill, at one point vomiting blood on the floor of the interrogation room);  Leyra v. Denno, supra (detainee suffering from acutely painful sinus condition);  Ziang Sun Wan v. United States, 266 U.S. 1, 45 S.Ct. 1, 69 L.Ed. 131 (1924) (detainee suffering from spastic colitis).
    
    
      70
      Moreover, Miller had had previous experience with the criminal system;  indeed, he had served a jail sentence.  Thus, he was aware of the consequences of confessing.  In addition to this experience, he received Miranda warnings.  The Seventh Circuit has recently stressed the importance of a detainee's prior experience, as well as age and education, in determining whether a confession was voluntary.  In United States v. Oglesby, 764 F.2d 1273, 1278 (7th Cir.1985), the court noted that the accused had three prior felony convictions, had earned a substantial number of college credit hours and was fifty-four years old at the time of his confession.  The court stated that "the record reveals that the defendant was not disadvantaged by youthful ignorance or the naivete born of inexperience" and concluded that he "was able to resist whatever pressure was brought to bear on him by the FBI agent's promise to make his cooperation known to the United States Attorney...."8
    
    2. The Length of the Interrogation
    
      71
      Detective Boyce's interrogation of Miller lasted less than an hour.  It was not "a process of interrogation ... so prolonged and unremitting, especially when accompanied by deprivation of refreshment, rest or relief, as to accomplish extortion of an involuntary confession."   Stein v. New York, supra, 346 U.S. at 184, 73 S.Ct. at 1092.  It is thus distinguishable from the lengthy interrogations during incommunicado detention that have been held to result in involuntary confessions.    See, e.g., Davis v. North Carolina, supra (sixteen days);  Reck v. Pate, supra (four days);  Payne v. Arkansas, 356 U.S. 560, 78 S.Ct. 844, 2 L.Ed.2d 975 (1958) (forty-nine hours);  Fikes v. Alabama, supra (two weeks);  Ashcraft v. Tennessee, supra (thirty six hours);  Ziang Sung Wan v. United States, supra (seven days).  It is significant that cases in which psychological coercion has been found typically involved longer periods of interrogation than that to which Miller was submitted.    See, e.g., Blackburn v. Alabama, supra (eight to nine hours);  Spano v. New York, supra (two weeks);  Leyra v. Denno, supra (four days);  Watts v. Indiana, supra (five days).  Moreover, Miller did not request the presence of either a lawyer or any other person to provide him with advice or moral support.    Cf. Haynes v. Washington, supra (detainee not allowed to call his wife until he gave a written confession);  Ziang Sun Wan v. United States, supra (detainee asked in vain to see his brother).
    
    3. Boyce's Friendly Approach
    
      72
      Boyce's supportive, encouraging manner was an interrogation tactic aimed at winning Miller's trust and making him feel comfortable about confessing.  Excessive friendliness on the part of an interrogator can be deceptive.  In some instances, in combination with other tactics, it might create an atmosphere in which a suspect forgets that his questioner is in an adversarial role, and thereby prompt admissions that the suspect would ordinarily make only to a friend, not to the police.   See Spano v. New York, supra, 360 U.S. at 323, 79 S.Ct. at 1207 (police officer, who was suspect's childhood friend, told suspect that his job would be in jeopardy if suspect did not confess and that the loss of his job would be disastrous for his three children, his wife and his unborn child);  Leyra v. Denno, supra, 347 U.S. at 559, 74 S.Ct. at 718 (police psychiatrist, after telling suspect that he was a doctor who would give him help with his sinus headache, told suspect how much he wanted to help him with his legal predicament and described how good suspect would feel if he unburdened his conscience).9   See also White, Police Trickery in Inducing Confessions, 127 U.Pa.L.Rev. 581, 614-17 (1979) (advocating per se rule against device of seeking to elicit incriminating information through assumption of a non-adversarial role);  F. Royal &amp; S. Schutt, The Gentle Art of Interviewing and Interrogation, 61-61 (1976), quoted in White, supra ("Resistance to the disclosure of [incriminating] information is considerably increased ... if something is not done to establish a friendly and trusting attitude on the part of the subject.").  As John Gay has written:
    
    
      73
      An open foe may prove a curse, But a pretended friend is worse ...
    
    
      74
      Quoted in Spano v. New York, supra, 360 U.S. at 323, 79 S.Ct. at 1207.
    
    
      75
      Nevertheless, the "good guy" approach is recognized as a permissible interrogation tactic.  See Royal &amp; Schutt, supra, at 61-62.  Moreover, the Supreme Court has indicated that a sympathetic attitude on the part of the interrogator is not in itself enough to render a confession involuntary.   See, e.g., Beckwith v. United States, 425 U.S. 341, 343, 348, 96 S.Ct. 1612, 1614, 1617, 48 L.Ed.2d 1 (1976) (interrogator adopted sympathetic attitude, but resulting confession was voluntary);  Frazier v. Cupp, supra, 394 U.S. at 737-39, 89 S.Ct. at 1423-25 (same).  Only if other aspects of the interrogation strengthened the illusion that it was non-adversarial in character could Miller's confession have been involuntary because of psychological coercion.
    
    4. Boyce's Lie
    
      76
      While a lie told to the detainee about an important aspect of the case may affect the voluntariness of the confession, the effect of the lie must be analyzed in the context of all the circumstances of the interrogation.   See e.g., Frazier v. Cupp, supra, 394 U.S. at 737, 739, 89 S.Ct. at 1423, 1424, (false statement by police officer that detainee's cousin had confessed, while relevant to issue of voluntariness, was insufficient to make otherwise voluntary confession inadmissible).  We do not believe that the lie about the time of Ms. Margolin's death, by itself, constituted sufficient trickery to overcome Miller's will.  Because Boyce never suggested that the time of Ms. Margolin's death might be relevant in linking Miller to the crime, the only possible effect of Boyce's initial statement that she was alive, followed by his report that she had just died, would be an emotional response in Miller.  The drama of the announcement of the victim's death might have prompted particularly acute feelings in Miller, which could have helped to induce his confession.  However, the record suggests that this emotional reaction did not occur, for it appears that Miller was not affected at all by the news of the death.  Indeed, he remained quite impassive.  We therefore conclude that any pathos or remorse he might have felt was not particularly strong.
    
    5. Boyce's Promises
    
      77
      Detective Boyce's statements that Miller was not a criminal, but rather a mentally ill individual not responsible for his actions, and Boyce's promises to help Miller raise a more serious question about the voluntariness of Miller's confession.  By telling Miller that he was not responsible for anything he might have done, Boyce may have been understood to be making an implied promise to Miller that Miller would not be prosecuted, or that if he were prosecuted Boyce would aid him in presenting the insanity defense.  Similarly, the promises of psychiatric help might have suggested to Miller that he would be treated, rather than prosecuted.  If these promises, implicit and explicit, tricked Miller into confessing, his confession may have been involuntary.  To determine whether Boyce's promises affected the voluntariness of Miller's confession, we must consider how manipulative these tactics in fact were.
    
    
      78
      a. The Rule Respecting Promises Made During Interrogation
    
    
      79
      In Bram v. United States, 168 U.S. 532, 18 S.Ct. 183, 42 L.Ed. 568 (1897), the Supreme Court endorsed the view that to be voluntary, a confession must not have been " 'extracted by any sort of threats or violence, nor obtained by any direct or implied promises, however slight.' "   Id. at 542-43, 18 S.Ct. at 187, quoting 3 Russell on Crimes (6th ed.) 478 (emphasis added).  Although the Bram test has been reaffirmed in Hutto v. Ross, 429 U.S. 28, 30, 97 S.Ct. 202, 203, 50 L.Ed.2d 194 (1976) (per curiam), and in dictum in Brady v. United States, 397 U.S. 742, 753-54, 90 S.Ct. 1463, 1471-72, 25 L.Ed.2d 747 (1970), it has not been interpreted as a per se proscription against promises made during interrogation.  Nor does the Supreme Court even use a but-for test when promises have been made during an interrogation, despite the seemingly plain meaning of the Bram rule.  Rather, the Court had indicated that it does not matter that the accused confessed because of the promise, so long as the promise did not overbear his will.   See Hutto v. Ross, supra, 429 U.S. at 30, 97 S.Ct. at 203.  Apparently, the words "obtained by ... promises" in the Bram test have been read to mean "obtained because the suspect's will was overborne by ... promises."    In other words, promises do not trigger an analysis different from the totality of the circumstances test.  See supra at 603-605.
    
    
      80
      Thus, courts have treated promises as part of the totality of the circumstances in assessing the voluntariness of confessions.   See, e.g., Leyra v. Denno, supra, 347 U.S. at 559, 74 S.Ct. at 718 (1954);  United States v. Ferrara, 377 F.2d 16 (2d Cir.), cert. denied, 389 U.S. 908, 88 S.Ct. 225, 19 L.Ed.2d 225 (1967);  Rachlin v. United States, supra, 723 F.2d at 1377 (quoting Bram in a discussion of the totality of the circumstances test).  As the Second Circuit stated in Ferrara, the Bram rule has never been applied with "wooden literalness."    377 F.2d at 17.  The Fourth Circuit has described the proper analysis of promises thus:
    
    
      81
      Despite this broad language [in Bram ], the cases indicate that government agents may validly make some representation to a defendant or may discuss cooperation without rendering the resulting confession involuntary.  Government agents may initiate conversations on cooperation, they may promise to make a defendant's cooperation known to the prosecutor, and they may even be able to make and breach certain promises without rendering a resulting confession involuntary.  Nevertheless, there are certain promises whose attraction renders a resulting confession involuntary if the promises are not kept, and the defendant's perception of what government agents have promised is an important factor in determining voluntariness.
    
    
      82
      United States v. Shears, 762 F.2d 397, 401-02 (4th Cir.1985) (footnotes omitted).  In short, there is no support in the case law for the dissent's statement that "when promises, however slight, are made in the interrogation room rather than in the presence of counsel, those promises render the resulting confession inadmissible."    Dissenting opinion, at 627.10
    
    
      83
      b. The Promises Made to Miller
    
    
      84
      Detective Boyce's tone of voice and his frequent repetition of assurances may have lent credibility to his implied promise that Miller would not be prosecuted.  However, Miller had been given Miranda warnings, which included the admonition that anything that Miller said could be used against him.  Thus, when the interrogation began, Miller knew that if he confessed to the Margolin murder he could be prosecuted.   See Frazier v. Cupp, supra, 394 U.S. at 739, 89 S.Ct. at 1425 ("Before petitioner made any incriminating statements, he received partial warnings of his constitutional rights;  this is, of course, a circumstance quite relevant to a finding of voluntariness.").   Cf. Robinson v. Smith, 451 F.Supp. 1278, 1282 (W.D.N.Y.1978) (accused who was promised "the benefits of any leniency that may come to him in the courts" did not receive Miranda warnings and was not otherwise advised that he might involve himself in a murder charge by making a statement to the police).  Detective Boyce's words of comfort would have had to overcome Miller's initial belief that the state intended to prosecute him and to sentence him to jail if convicted in order to render Miller's confession involuntary.
    
    
      85
      At no time did Detective Boyce state that Miller would not be prosecuted or that he could successfully avail himself of the insanity defense.   Cf. United States v. Powe, 591 F.2d 833, 845 n. 36 (D.C.Cir.1978) (defendant testified that the detective who interrogated him "made propositions to me as far as turning over drug dealers up in that area over to him, to drop my case and Mr. Harris' case").  While innuendo might rise to the level of trickery, it is not so likely to break down resistance as is a promise that is spelled out.  Indeed, Detective Boyce's statements that Miller was "not a criminal" need not be understood as assurances of leniency at all.  Since the Detective's interrogation strategy was to present himself as a friend to whom Miller could unburden himself, he of course attempted throughout the interview to persuade Miller to trust him and confide in him.  The statements at issue can be viewed as a means of convincing Miller that Boyce was sympathetic, no matter what the state's reaction might be.  "You are not responsible" and "You are not a criminal" thus would mean "In my eyes, you are not responsible or a criminal and therefore you should relieve your conscience by talking to me, who understands you."While such a statement might have made Miller feel more comfortable about speaking to Boyce, it would not render his confession the product of a mistaken belief that the state would grant him leniency.  Detective Boyce never stated that anyone but he thought that Miller was "not a criminal," nor did he state that he had any authority to affect the charges brought against Miller.   See United States v. Sebetich, 776 F.2d 412, 422 (3d Cir.1985) (police chief lacked authority to plea bargain);  Rachlin v. United States, supra, 723 F.2d at 1376-77 (8th Cir.1983) (Secret Service Agents lacked authority to plea bargain).  Miller's confession may have been made in the hope of leniency, but that does not mean that it was made in response to a promise of leniency.   See Rachlin v. United States, supra, 723 F.2d at 1378.
    
    
      86
      With regard to the psychiatric help, on the other hand, Boyce did make some outright promises.  For example, he said, "[W]e're going to see to it that you get the proper help.  This is our job, Frank."    Such a promise could be quite compelling in itself and could also strengthen the implications that Miller might not be prosecuted at all.
    
    
      87
      A distinction can be drawn, however, between promises of leniency in the imminent criminal proceedings against the defendant and promises of help with some collateral problem.  In Bram, supra, there was an implied promise that the defendant would not be prosecuted if he confessed.11   In distinguishing Bram the Court in Brady, supra, noted that under the circumstances of the Bram case "even a mild promise of leniency was deemed sufficient to bar the confession...."  397 U.S. at 754, 90 S.Ct. at 1472 (emphasis added).  While promises of help with collateral problems have been found, in combination with other coercive factors, to render confessions involuntary, see, e.g., Leyra, supra, in general, such promises are less coercive to the accused than promises directly related to the criminal proceedings at hand.12
    
    
      88
      The promises of help to Miller fall somewhere between promises relating to purely collateral issues and promises of leniency in the immediate criminal proceedings against Miller, for help with the "problem" might be interpreted to mean commitment to a psychiatric hospital in lieu of imprisonment.  Indeed, in combination with the statements that Miller was "not responsible," it could be interpreted to mean that there would be no prosecution of Miller.  However, taking all these statements together, there is at most an implication that Miller will be treated leniently in the impending criminal proceedings.  Boyce made no direct promise of such leniency;  the only outright promise he made was to get Miller help with his psychological problem.  As we have stated above, indirect promises do not have the potency of direct promises.
    
    
      89
      In a case quite similar to this one, the First Circuit recently found a confession to be voluntary.   Bryant v. Vose, 785 F.2d 364 (1st Cir.1986).  During an interrogation of a murder suspect, the police chief told the detainee that, to the best of his knowledge, the general practice for persons who are "crazy" and commit serious crimes is for them "to be sent for observation to Bridgewater [Hospital] ... for observation, then they're determined whether or not they're capable of standing trial."   Id., at 367.  The court rejected the argument that the confession was the product of a promise of leniency.  According to the court, "The reference to Bridgewater did not directly suggest leniency, let alone promise it.  Any indirect promise to be inferred from the Bridgewater remark is so slight as to be insignificant in these circumstances."   Id., at 368 (emphasis added).
    
    
      90
      Leyra v. Denno, 347 U.S. 556, 74 S.Ct. 716, 98 L.Ed. 948 (1954), in which a confession was held involuntary, is noteworthy because it illustrates the kinds of psychological pressures that can overbear a detainee's will.  Although the detainee in Leyra was promised help with a collateral medical problem and was assured that "he had done no moral wrong and would be let off easily," id. at 560, 74 S.Ct. at 718, the situation in Leyra is quite different from the circumstances of Miller's confession.    Leyra was questioned almost continually over the course of four days.  He had had very little sleep and frequently "complained about how tired and how sleepy he was and how he could not think;"  the Court noted that his answers to questions "indicate[d] a mind dazed and bewildered."    Id.  Adding to the detainee's distress was an "acutely painful attack of sinus," id. at 559, 74 S.Ct. at 718, for which a police officer promised to get him medical help.  Instead of a general practitioner or an eye, ear and nose specialist, a police psychiatrist with considerable knowledge of hypnosis, "Dr. Helfand," arrived in the interrogation room.  Dr. Helfand did not disclose the fact that he was a psychiatrist.  His clever questioning technique induced Leyra's confession.  The psychiatrist told Leyra "how much he wanted to and could help him, how bad it would be for [Leyra] if he did not confess, and how much better he would feel, and how much lighter and easier it would be on him if he would just unbosom himself to the doctor."   Id. at 559-60, 74 S.Ct. at 718-19.
    
    
      91
      While these statements bear a resemblance to the statements made by Detective Boyce, the obvious differences between the two situations render the interrogation of Miller much less coercive.  Leyra was explicitly told that he would be let off easily.  Moreover, he was interviewed for several days and was suffering from a painful sinus condition, as well as from extreme fatigue.  In contrast, Miller was questioned less than an hour and was not suffering from lack of sleep or any other physical ailment.  The promise of help with his supposed mental problem thus did not have the urgent appeal that a promise of help with acute physical pain would have.  Any promise of prosecutorial leniency was made only by implication.
    
    
      92
      6. Effect of the Totality of the Circumstances
    
    
      93
      In determining whether the circumstances described above indicate that Miller's confession was involuntary, we must consider whether Boyce's tactics were sufficiently manipulative to overbear the will of a person with Miller's characteristics.  We thus recognize that "[t]he limits [of permissible questioning tactics] in any case depend upon a weighing of the circumstance of pressure against the power of resistance of the person confessing.  What would be overpowering to the weak of will or mind might be utterly ineffective against an experienced criminal."   Stein v. New York, supra, 346 U.S. at 185, 73 S.Ct. at 1093 (1953).   See also Schneckloth, supra, 412 U.S. at 225-26, 93 S.Ct. at 2046-47.
    
    
      94
      As we have noted above, a significant portion of the questioning was in the typical police interrogation mode, developing chronologically Miller's whereabouts on the day in question, confronting him with the identification of his car, asking him point-blank as to whether he committed the crime, challenging his answers, and attempting to discover the details of the crime.  This portion of the interrogation would not have an effect upon Miller's will.  Moreover, the interrogation did not last very long, and Miller was not suffering from any painful ailment or physical deprivation that would impel him to confess in order to be released from the questioning room.  Nor did Miller seek the presence of any other person or, indeed, make any request that was denied by Boyce.
    
    
      95
      While Boyce's promises of psychiatric help and statements that Miller was "not a criminal," in combination with his friendly manner, may have been a form of psychological trickery, we do not believe that these elements of the interrogation affected the voluntariness of the confession.  Miller's personal characteristics, see supra at 606, support a conclusion that the confession was voluntary, for Miller does not seem to be the type of person whose will would be easily overborne by Boyce's remarks.  Miller's age, intelligence and experience rendered him resistant to the level of persuasiveness that Boyce employed.
    
    
      96
      Moreover, throughout the interview, Miller made remarks that indicate that he knew that this was an ordinary police interrogation, rather than an encounter with a compassionate friend, and that he was aware that a confession would result in criminal prosecution and possibly in conviction and sentence.  Throughout the session, he appears to have retained a suspicious, guarded attitude.  At one point, when Detective Boyce asked him if he wanted help, Miller replied, "Yes, uh, huh, yes, but yet I'm, I'm not going to admit something that, that I wasn't involved in."    In reply to the statement, "I don't think you're a criminal, Frank," Miller said, "No, but you're trying to make me one."    The following exchange illustrates even more clearly Miller's distrustful attitude toward the Detective:
    
    
      97
      Boyce:  ... It's hard for you, I realize that, how hard it is, how difficult it is, I realize that, but you've got to help yourself, before anybody else can help you.  And we're going to see to it that you get the proper help.  This is our job, Frank.  This is our job.  This is what I want to do.
    
    
      98
      Miller:  By sending me back down there.
    
    
      99
      It also is apparent that Miller's prior experience with the law made him wary of policemen.
    
    
      100
      Boyce:  ... You have this problem like we talked about before, right?
    
    
      101
      Miller:  Yeah, you, you say this now, but this thing goes to court and everything and you ...
    
    
      102
      Boyce:  No, listen to me, Frank, please listen to me.  The issue now is what happened.  The issue now is truth.  Truth is the issue now.  You've got to believe this, and the truth prevails in the end, Frank.  You have to believe that and I'm sincere, when I'm saying it to you.  You've got to be truthful with yourself.
    
    
      103
      Miller:  Yeah, truth, you say in the end, right?    That's why I done three and a half years for ...
    
    Boyce:  Wait, whoa ... whoa
    
      104
      Miller:  ... for a crime that I never committed because of one stinkin' detective framing me ...
    
    
      105
      Boyce:  Frank, Frank.
    
    
      106
      Miller:  ... by the name of Rocco.
    
    
      107
      Given these statements, it is difficult for us to believe that Miller was tricked into confessing.  Rather, it seems that Miller made an uncoerced decision to unburden his inner tensions and to acknowledge his guilt.
    
    
      108
      Indeed, from the tape of the interrogation, it clearly appears that the precipitating cause of Miller's confession was a desire to make a clean breast of it, rather than a reliance on any promises of leniency or psychiatric help.  He expressed the reservation that "this is going to kill my father."    Thereupon, Detective Boyce made a speech about the importance of truthfulness both for himself and his family.  Miller capitulated immediately thereafter.  Apparently, he took Boyce's words to heart and decided that it would be better for all concerned if he told the truth.13
    
    
      109
      We have little doubt that Detective Boyce's encouraging words, perhaps in combination with the sad announcement that the victim had just died, helped Miller to reach his decision to unburden himself.  However, the test for voluntariness is not a but-for test, but a question of whether the confession was a product of free choice.  As the Eleventh Circuit has pointed out, "mere emotionalism and confusion do not necessarily invalidate" confessions.   Corn v. Zant, 708 F.2d 549, 567 (11th Cir.1983), vacated in part on other grounds, 772 F.2d 681 (11th Cir.1985).  Many criminals experience an urge during interrogation to own up to their crimes, see O. Rogge, Why Men Confess 209-30 (1959), quoted in Grano, Voluntariness, Free Will, and the Law of Confessions, 65 Va.L.Rev. 859, 887 n. 131 (1979);  Driver, Confessions and the Social Psychology of Coercion, 82 Harv.L.Rev. 42, 57 (1968).  Boyce's manner and his statements may have stirred this urge in Miller, but, in our view, they did not produce psychological pressure strong enough to overbear the will of a mature, experienced man, who was suffering from no mental or physical illness and was interrogated for less than an hour at a police station close to his home.
    
    
      110
      Detective Boyce's method of interrogation might have overborne the will of another detainee, for example, a young, inexperienced person of lower intelligence than Miller, or a person suffering from a painful physical ailment.  It might have overcome the will of Miller himself if the interrogation had been longer or if Miller had been refused food, sleep, or contact with a person he wished to see.  Moreover, if Miller had made remarks that indicated that he truly believed that the state would treat him leniently because he was "not responsible" for what he had done or that he believed that he would receive psychiatric help rather than punishment, we might not find the confession voluntary.  We hold simply that, under the totality of the circumstances of this case, the confession was voluntarily given.
    
    V. CONCLUSION
    
      111
      Exercising a plenary standard of review, we have concluded that under the totality of the circumstances, Miller's confession was voluntary and therefore admissible.
    
    
      112
      The judgment of the district court will be affirmed.
    
    GIBBONS, Circuit Judge, dissenting:
    
      113
      When this unfortunate case was last before this court, the panel majority, disregarding a long and consistent line of Supreme Court precedent, held that the question of voluntariness of a confession was a question of fact upon which a federal court exercising habeas corpus jurisdiction must defer to the findings of state courts.1   That ruling placed this court at odds with eight federal circuits that had considered the issue.  Not surprisingly, the Supreme Court reversed and remanded to this court for reconsideration in light of its reiteration of the settled law that federal tribunals should make a plenary determination of the question "whether, under the totality of the circumstances, the confession was obtained in a manner consistent with the Constitution...."  Miller v. Fenton, --- U.S. ----, 106 S.Ct. 445, 453, 88 L.Ed.2d 405 (1985).  Undaunted, the author of this court's prior opinion reaches the same result, by holding that as a matter of law oral admissions by Frank M. Miller, Jr. were obtained in a manner consistent with the Constitution.  In supporting that conclusion, however, the majority opinion carefully selects among the totality of the circumstances to which it chooses to refer, takes statements out of context, ignores the sole purpose of the interrogating officer, and attaches no significance to strong evidence that Miller's will was overborne.  Moreover, by endorsing a thoroughly bad piece of police work, the majority sends a signal to the police community in this circuit that is likely to have the harmful consequence of encouraging coercion of defendants in place of acceptable methods of investigation.
    
    I.
    
      114
      Miller is serving a life sentence for the murder of Deborah Margolin.  On the afternoon of August 13, 1973 Ms. Margolin was sunbathing on the patio of her parents' farmhouse when a white car approached.  As the car neared, Ms. Margolin's brothers observed that the trunk had been tied shut and that two dents marred its right-hand side.  Trial Transcript, Dec. 4, 1973 at 167, 180, State v. Miller.    At least one of the brothers observed the driver sufficiently to note that he was a male wearing loose-fitting clothes.  Id. at 169.  With her brother listening from the house, the driver told Ms. Margolin that a heifer was loose at the base of the driveway.  She got in the family car and drove down the driveway.  When she failed to return later that afternoon, a search party combed the area near her home.  Her body was found lying face down in a stream, her throat slashed.
    
    
      115
      The description of the car fit a car driven by Frank Miller.  Miller was known to the New Jersey State Police because he was then on parole from a 1969 conviction for carnal abuse.  At 10:50 P.M. on the evening that Ms. Margolin's body was found, two police officers located the car and Miller at a plastic factory where Miller worked.  An inspection of the car revealed two dents on the right-hand side and a spring holding down the trunk.  At the plastics factory the two police officers interrogated Miller for forty to fifty minutes, tape-recording a part of the interrogation.  Miller made no incriminating statement, but agreed to accompany them to the state police barracks.  They arrived at the barracks at midnight.  Miller was placed in the kitchen of the barracks under guard of another officer for over an hour.  At 1:47 A.M. on August 14, Officer Charles Boyce began a second tape-recorded interrogation of Miller.  The interrogation lasted fifty-three minutes.  For the first forty-two minutes Miller made no incriminating admissions.  During the last eleven minutes of the interrogation, however, Miller orally admitted killing Deborah Margolin.  He then collapsed and was removed to a hospital.
    
    
      116
      The issue in this appeal is whether Miller's admission, under the totality of the circumstances, was obtained in a manner consistent with the Constitution.  The totality of the circumstances relevant to that inquiry includes the purpose of Officer Boyce's interrogation, the methods used in that interrogation, and the effects of those methods upon Miller.
    
    II.
    
      117
      The majority commences its analysis with the observation:
    
    
      118
      A significant portion of the questioning was in the typical police interrogation mode, developing chronologically Miller's whereabouts on the day in question, confronting him with the identification of his car, asking him point-blank whether he committed the crime, challenging his answers and attempting to discover the details of the crime.  This element of the interrogation is unexceptional and unchallenged.
    
    
      119
      Majority opinion at 601.  The majority is correct when it says this element of the interrogation is unchallenged.  Miller has no reason to challenge it because that part of the interrogation does not tend to incriminate him.  The assertion that it is unexceptional, however, illustrates the fundamental difference between the majority and the dissent with respect to the values that animate the procedural safeguards against self-incrimination.  Many years ago Justice Frankfurter articulated those values clearly when he observed that
    
    
      120
      [o]urs is the accusatorial as opposed to the inquisitorial system.  Such has been the characteristic of Anglo-American criminal justice system since it freed itself from practices borrowed by the Star Chamber....  Under our system society carries the burden of proving its charges against the accused not out of his own mouth.  It must establish its case, not by interrogation of the accused even under judicial safeguards, but by evidence independently secured through skillful investigation.
    
    
      121
      Watts v. Indiana, 338 U.S. 49, 54, 69 S.Ct. 1347, 1350, 93 L.Ed. 1801 (1949) (plurality opinion).  That is the ideal to which the Constitution demands that we aspire and is the standard by which we should consider whether the interrogation conducted by Officer Boyce was unexceptional.  Unfortunately, while the courts pay lip service to the ideal by imposing restraints on prosecuting attorneys in court, this legal posturing takes place after the police have completed their investigation.  Unless this court is willing to find the interrogation that took place in this case to be unconstitutional, it will be placed, as the court which tried Miller was, in the position of merely ratifying the plea of guilty that the police had already obtained in its Star Chamber proceeding.
    
    
      122
      I do not mean to suggest that an interrogation is never a legitimate tool of investigation.  However, I do suggest, contrary to the majority, that an interrogation that has no investigative purpose and is used only as a means of obtaining a confession, is anything but unexceptional.  In this case the interrogation of Miller had no purpose other than obtaining admissions that could be used to charge Miller with felony murder.  Such an interrogation requires the closest scrutiny.
    
    
      123
      When Boyce commenced the second interrogation, the state police had in their possession his unique automobile, which had been sufficiently described by Ms. Margolin's brothers that it promptly led them to Miller.  They had already determined the hours of Miller's factory shift and thus knew that he was not at work during the critical time period.  They had already interrogated him about his whereabouts during the critical time period and learned about a claimed alibi at the Ringoes, New Jersey Post Office, which could easily be checked upon in the morning.  They knew from his past record that he was a sexually-disturbed person.  They knew that one of Ms. Margolin's brothers had seen someone generally fitting Miller's description shortly before the homicide and could in all likelihood identify him.  They could reasonably anticipate that an examination of Miller's automobile would produce evidence linking him to Ms. Margolin's death because the car contained fresh blood stains.  They had no other suspects.
    
    
      124
      Thus the police did not need to conduct an interrogation directed at investigating the murder;  it was already solved so far as they were concerned.  The police could have, but did not, place Miller in a lineup so he could be identified as the person who spoke to Ms. Margolin.  They could have, but did not, attempt to locate other witnesses who might have placed Miller near the scene of the crime.  They could have, but did not, attempt to find witnesses who would undercut Miller's story about being at the Ringoes Post Office.  Instead, the police conducted an interrogation directed at obtaining a confession from the sole suspect, and that interrogation was designed to assure Miller's prosecution for felony murder rather than a lesser offense.
    
    
      125
      For me, although obviously not for the majority, the most significant circumstance in this case supporting the conclusion that Miller's admission was obtained in a manner inconsistent with the Constitution is the complete absence of any legitimate investigative purpose for the interrogation.  The circumstances of this case provide a classic illustration of the once common practice of obtaining guilty pleas in the back rooms of police stations rather than in open court.  Moreover, the evidence of the method of interrogation must be examined in light of Officer Boyce's sole purpose--the obtaining of admissions of guilt, not the solution of a crime which Boyce believed to be solved already.
    
    
      126
      Keeping in mind that obtaining a confession, not investigating a crime, was Officer Boyce's sole purpose in conducting the interrogation, I turn to the methods he employed.  The majority notes that Boyce "made no threats and engaged in no physical coercion of Miller."    Majority opinion at 601.  That statement is true only in the sense that Boyce did not physically beat Miller.  It is intended, however, to divert attention from the fact that the setting was inherently coercive.  Miller was apprehended at his place of work late at night, interrogated there for nearly an hour, and then taken to a police barracks.  He was kept in isolation under guard until Boyce's interrogation began.  Boyce could have postponed the interrogation until Miller, who had just finished a factory shift, obtained a night's sleep.  Instead he commenced the interrogation at 1:47 A.M. for the obvious purpose of maximizing the impact of the inherently coercive environment in which Miller found himself.
    
    
      127
      The majority stresses that Boyce "repeatedly assured Miller that he was sympathetic to him and wanted to help him unburden his mind."    Id.  Admittedly, Boyce did feign sympathy for Miller, but clearly unburdening Miller's mind was not Boyce's purpose.  The repeated assurances, the friendly, understanding manner, and the soft tone of voice to which the majority makes reference were all directed to a single purpose--making an unwilling defendant admit his guilt.  Referring to the detective's statement of sympathy as "maudlin" is deceptive.  Every word, every nuance of expression, every change in tone of voice, was calculated toward one end, and one end only--obtaining an admission of guilt.  From the tone of the majority opinion one might believe that its author actually credits these deceptive expressions of sympathy.  But as the majority well knows the state police are not in the business of acting as religious or psychiatric counselors.  Boyce was not sympathetic.  He was no more interested in helping Miller "unburden his inner tensions," Majority opinion at 616, than he was in any other aspect of Miller's health.  Instead Boyce was determined and ultimately successful in obtaining from an unwilling defendant the one thing that was his purpose--a confession.
    
    
      128
      Annexed to this opinion as an appendix is a transcript of Boyce's interrogation.  Keeping Boyce's singular purpose in mind, that transcription conveys an entirely different effect than the majority attributes to the interrogation in its abridged account.  The impression conveyed by the tape recording is even more compelling.  The admissions, which came during the last eleven minutes, were the product of Boyce's factual misstatements about the investigation, misrepresentations about his intentions, and false promises.  The majority concedes that Boyce lied to Miller in one material respect.  In fact there were far more lies than the one that the majority so cavalierly discounts.
    
    
      129
      After obtaining a signature on a Miranda warning card, Boyce commenced the interrogation by going back over statements made by Miller in the interrogation at the plastics factory.  Although the majority suggests otherwise, the transcript discloses throughout that the second interrogation was a continuation of the first interrogation.  The line of inquiry about prior statements produced a slight discrepancy with respect to time, which Boyce described as raising "a big question mark in my mind right now."    He then pointed out that fresh blood had been found on the left front interior portion of Miller's vehicle.  This statement was true.  It was, however, just about the last true statement Boyce made.  Immediately thereafter he exaggerated:
    
    
      130
      BOYCE:  We have a witness, Frank, now this is point 4.  We have a witness who identified your car, who, no, I'm, I'm sorry, let me, I shouldn't say your car, who identified a vehicle that fits the description of your car, at this girl's home, speaking with her, telling her something about a cow being loose.  Someone who was there who wanted to help her, they didn't want to hurt this girl, they didn't want to hurt this girl, Frank, they wanted to help her.  You see, I know this, I know that, ...
    
    
      131
      MILLER:  Yeah.
    
    
      132
      BOYCE:  ... because I can appreciate that, because I would have done the same thing.  If there was something to be rectified, or if somebody had a problem, I would have done the same thing. I would have wanted to help her.  The vehicle that came onto the property ...
    
    
      133
      MILLER:  Right.
    
    
      134
      BOYCE:  ... fits the description of your vehicle.
    
    
      135
      MILLER:  It does.
    
    
      136
      BOYCE:  Yes.  Now, that's the fourth point.  And when I say fits the description, what I mean, Frank, is it fits the description to a 't,' and as we talked about before, how many other vehicles are there like yours in the county right now?
    
    
      137
      MILLER:  There shouldn't be too many, if any....
    
    
      138
      BOYCE:  If any ...
    
    
      139
      MILLER:  Because of the damage on the right-hand side.
    
    
      140
      BOYCE:  Now, what would your conclusion be under those circumstances, if someone told you that?
    
    
      141
      MILLER:  I'd probably, uh, have the same conclusion you got.
    
    
      142
      BOYCE:  Which is what?
    
    
      143
      MILLER:  That I'm the guy that did this.
    
    
      144
      BOYCE:  That did what?
    
    
      145
      MILLER:  Committed this crime.
    
    
      146
      The reference to a witness identifying the car, while exaggerated, since the car had not been shown to the witness, was at least generally consistent with the facts.  But the reference to what was the strongest evidence against Miller was clearly intertwined with the suggestion that the person who came on the Margolin's property came there for a beneficent purpose.  When Boyce said, "If there was something to be rectified, or if somebody had a problem, I would have done the same thing," his obvious purpose of coupling the reference to the state's strongest evidence with the reference to a good Samaritan's interest in the loose heifer was to break down Miller's will.  Up to that point in the interrogation Miller, acting consistently with what was his own best interest, had refused to incriminate himself.
    
    
      147
      The good Samaritan reference was the first of a series of similarly devious psychological ploys.  Immediately following the noted exchange, Boyce again exaggerated:
    
    
      148
      BOYCE:  I think the guy driving this car ... wait, let me, I forgot something ... We have a physical description ...
    
    
      149
      MILLER:  Uh huh.
    
    
      150
      BOYCE:  ... of this individual from another witness.  The physical description Frank, ...
    
    
      151
      MILLER:  Yeah.
    
    
      152
      BOYCE:  ... Fits you and the clothes you were wearing.
    
    
      153
      In fact the police had only a general description, and as noted above, never bothered with a lineup.  As a result no identification of Miller was introduced at trial.  Immediately after confronting Miller with this supposedly conclusive identification, Boyce adopted the psychological ploy of offering Miller help with his problem:
    
    
      154
      BOYCE:  Frank, I don't think you're a criminal.  I don't think you're a criminal.  I don't think you have a criminal mind.  As a matter of fact, I know you don't have a criminal mind, because we've been talking now for a few hours together, haven't we?
    
    
      155
      MILLER:  Right.
    
    
      156
      BOYCE:  Right?
    
    
      157
      MILLER:  Yeah.
    
    
      158
      BOYCE:  You don't have a criminal mind.
    
    
      159
      MILLER:  No.
    
    
      160
      BOYCE:  I know you don't.  But, like I noted before, we all have problems.
    
    
      161
      MILLER:  Right.
    
    
      162
      BOYCE:  Am I right?
    
    
      163
      MILLER:  Yeah, you said this over there at the plant.
    
    
      164
      BOYCE:  And you agree with me?
    
    
      165
      MILLER:  Yes, sir.
    
    
      166
      BOYCE:  I have problems and you have.
    
    
      167
      MILLER:  Right.
    
    
      168
      BOYCE:  Now, how do you solve a problem?
    
    
      169
      MILLER:  That depends on the problem.
    
    
      170
      BOYCE:  Your problem how do we solve it?    How are we going to solve it?
    
    
      171
      MILLER:  This I don't know.
    
    
      172
      BOYCE:  Do you want me to help you solve it?MILLER:  Yeah.
    
    
      173
      BOYCE:  You want me to extend all the help I can possibly give you, don't you?
    
    
      174
      MILLER:  Right.
    
    
      175
      BOYCE:  Are you willing to do the same to me?
    
    
      176
      MILLER:  Yeah.
    
    
      177
      BOYCE:  Now, I feel ...
    
    
      178
      MILLER:  Yeah.
    
    
      179
      BOYCE:  ... who is ever, whoever is responsible for this act ...
    
    
      180
      MILLER:  Yeah.
    
    
      181
      BOYCE:  He's not a criminal.    Does not have a criminal mind.  I think they have aproblem [sic].
    
    
      182
      MILLER:  Uh, huh.
    
    
      183
      BOYCE:  Do you agree with me?
    
    
      184
      MILLER:  Yeah.
    
    
      185
      BOYCE:  They have a problem.
    
    
      186
      MILLER:  Right.
    
    
      187
      BOYCE:  A problem, and a good thing about that Frank, is a problem can be rectified.
    
    
      188
      MILLER:  Yeah.
    
    
      189
      BOYCE:  I want to help you.  I mean I really want to help you, but you know what they say, God helps those who help themselves, Frank.
    
    
      190
      MILLER:  Right.
    
    
      191
      BOYCE:  We've got to get together on this.  You know what I'm talking about, don't you?
    
    
      192
      MILLER:  Yeah, especially if they're trying to say that, you know, that like you say, I'm identified and my car's identified, and uh, we got to get together on this.
    
    
      193
      BOYCE:  Yes we do.  Now, that's only a few of the items ...
    
    
      194
      MILLER:  Uh, huh.
    
    
      195
      BOYCE:  ... that we have now.  Your problem, I'm not, let's forget this incident, okay ...
    
    
      196
      MILLER:  Yeah.
    
    
      197
      BOYCE:  ... let's forget this incident, let's talk about your problem.  This is what, this is what I'm concerned with, Frank, your problem.
    
    
      198
      MILLER:  Right.
    
    
      199
      BOYCE:  If I had a problem like your problem, I would want you to help me with my problem.
    
    
      200
      MILLER:  Uh, huh.
    
    
      201
      BOYCE:  Now, you know what I'm talking about.
    
    
      202
      MILLER:  Yeah.
    
    
      203
      BOYCE:  And I know, and I think that, uh, a lot of other people know.  You know what I'm talking about.  I don't think you're a criminal, Frank.
    
    
      204
      MILLER:  No, but you're trying to make me one.
    
    
      205
      BOYCE:  No I'm not, no I'm not, but I want you to talk to me so we can get this thing worked out.    This is what I want, this is what I want, Frank.  I mean it's all there, it's all there.  I'm not saying ...
    
    
      206
      (Emphasis supplied).  [At this point the phone rings and Boyce answers it].
    
    
      207
      This colloquy establishes that the interrogation is a continuation of the interrogation that occurred several hours earlier at Miller's place of employment.  It also establishes that the suggestion that Boyce would help Miller with his "problem" was made in the earlier interrogation as well.  Although the majority opinion selectively quotes from this colloquy, it conveniently omits Boyce's unequivocal denial of Miller's accusation that he was trying to make him a criminal rather than help him.
    
    
      208
      Immediately following the interruption by the telephone call, which occurred about twenty minutes into the interrogation, Miller asked and Boyce responded:
    
    
      209
      MILLER:  Let me ask you a question.
    
    
      210
      BOYCE:  Sure.
    
    
      211
      MILLER:  Now you say this girl's dead, right?
    
    
      212
      BOYCE:  She died just a few minutes ago.  I just got ... that's what the call was about.
    
    
      213
      MILLER:  Cause Officer Scott said she was in the hospital and I said well then let's go, you know, go right over there.
    
    
      214
      BOYCE:  She was in the hospital ...
    
    
      215
      MILLER:  And, uh ...BOYCE:  ... the call that Detective Doyle got, that's, that's what that call was.
    
    
      216
      MILLER:  Cause, I told him ...
    
    
      217
      The majority, acknowledging that the police had previously lied to Miller that Ms. Margolin had survived and that Boyce repeated the lie about the time of her death, attempts to put the deliberate trickery in a positive light, observing,
    
    
      218
      We do not believe that the lie about the time of Ms. Margolin's death, by itself, constituted sufficient trickery to overcome Miller's will.  Because Boyce never suggested that the time of Ms. Margolin's death might be relevant in linking Miller to the crime, the only possible effect of Boyce's initial statement that she was alive, followed by his report that she had just died, would be an emotional response in Miller.
    
    
      219
      Majority opinion at 607.  There are several glaring deficiencies in this attempted justification.  First, it ignores the plain fact that, by initially suggesting to Miller that Ms. Margolin survived, the police intended to leave him with the impression that she would eventually identify him.  When that ploy proved to be unsuccessful in breaking down his will, Boyce shifted to a different tactic, by announcing, falsely, that she had just died.  Boyce hoped, as the majority concedes, to evoke an emotional response in Miller.  Admitting that this was an attempt at psychological coercion, the majority explains it away with the preposterous statement, "However, the record suggests that this emotional reaction did not occur, for it appears that Miller was not affected at all by the news of the death."    Majority opinion at 607.  What the record actually discloses is that the interrogation continued as follows:
    
    
      220
      BOYCE:  Are you, do you feel what I feel right now?
    
    
      221
      MILLER:  I feel pretty bad.
    
    
      222
      BOYCE:  Do you want to talk to me about it?
    
    
      223
      MILLER:  There's nothing I can tell ...
    
    
      224
      BOYCE:  About how you feel?
    
    
      225
      MILLER:  ... there's nothing I can talk, I mean I feel sorry for this girl, I mean, uh, this is something that, you know ...
    
    
      226
      BOYCE:  That what?
    
    
      227
      MILLER:  Well, it's a shame, uh ...
    
    
      228
      BOYCE:  What did she say to you?
    
    
      229
      MILLER:  Beg your pardon?
    
    
      230
      BOYCE:  What did she say to you?
    
    
      231
      MILLER:  Who?
    
    
      232
      BOYCE:  This girl?
    
    
      233
      MILLER:  I never talked to this girl.  If she was to walk in here now, I wouldn't know, know that she was the girl that, uh, you're talking about.
    
    
      234
      BOYCE:  But you were identified as being there talking to her minutes before she was ... probably this thing that happened to her.  How can you explain that?
    
    
      235
      MILLER:  I can't.
    
    
      236
      BOYCE:  Why?
    
    
      237
      MILLER:  I don't know why, but I, I, you know, how can I explain something that I don't know anything about.
    
    
      238
      BOYCE:  Frank, look, you want, you want help, don't you Frank?
    
    
      239
      MILLER:  Yes, uh huh, yes, but yet I'm, I'm not going to admit to something that, that I wasn't involved in.
    
    
      240
      BOYCE:  We don't want you to, all I want you to do is talk to me, that's all.  I'm not talking about admitting to anything, Frank, I want you to talk to me.  I want you to tell me what you think.  I want you to tell me how you think about this, what you think about this?
    
    
      241
      MILLER:  What I think about it?
    
    
      242
      BOYCE:  Yeah.
    
    
      243
      MILLER:  I think whoever did it really needs help.
    
    
      244
      BOYCE:  And that's what I think and that's what I know.  They don't, they don't need punishment, right?    Like you said, they need help.
    
    
      245
      MILLER:  Right.
    
    
      246
      BOYCE:  They don't need punishment.  They need help, good medical help.
    
    
      247
      MILLER:  That's right.
    
    
      248
      BOYCE:  ... to rectify their problem.  Putting them in, in a prison isn't going to solve it, is it?MILLER:  No, sir.  I know, I was in there for three and a half years.
    
    
      249
      BOYCE:  That's right.  That's the, that's not going to solve your problem is it?
    
    
      250
      MILLER:  No, you get no help down there.  The only thing you learn is how to, you know ...
    
    
      251
      BOYCE:  Well, let's say this Frank, suppose you were the person who needed help.  What would you want somebody to do for you?
    
    
      252
      MILLER:  Help me.
    
    
      253
      BOYCE:  In what way?
    
    
      254
      MILLER:  In any way that they, they see, you know, fit, that it would help me.
    
    
      255
      BOYCE:  What, what do you think compels somebody to do something like this.  What do you think it is, Frank?
    
    
      256
      MILLER:  Well, it could be anumber [sic] of things.
    
    
      257
      BOYCE:  Give me an example.
    
    
      258
      MILLER:  It could be a person that, that drinks, uh, you know, a lot, and just, you know, don't know what they, what they did once they been drinking.  It could be somebody with narcotics that, that don't know what they're, you know, what they're doing once they shot up or took some pills or whatever they do, I don't know, I'm not a drug addict and never intend to be.
    
    
      259
      BOYCE:  What else Frank?    What other type of person would do something like this?
    
    
      260
      MILLER:  Somebody with a mental problem.
    
    
      261
      BOYCE:  Right.  Somebody with a ...
    
    
      262
      MILLER:  Mental problem ...
    
    
      263
      BOYCE:  ... serious mental problem, and you know what I'm interested in, I'm not, I'm interested in, in preventing this in the future.
    
    
      264
      MILLER:  Right.
    
    
      265
      BOYCE:  Now, don't you think it's better if someone knows that he or she has a mental problem to come forward with it and say, look, I've, I've, I've done these acts, I'm responsible for this, but I want to be helped, I couldn't help myself, I had no control of myself and if I'm examined properly you'll find out that's the case.  Is that right or wrong?
    
    
      266
      MILLER:  Yeah, that, they should be examined and, uh, you know, maybe a doctor could find out what's wrong with em.
    
    
      267
      BOYCE:  Have you ever been examined?
    
    
      268
      MILLER:  Yes.
    
    
      269
      BOYCE:  And did you have a problem?
    
    
      270
      MILLER:  Well, when I come, uh, made parole in, uh, September, the uh stipulation was, uh, that I see a psychiatrist.
    
    
      271
      BOYCE:  Alright ...
    
    
      272
      MILLER:  Doctor Taylor over here at the Medical Center, I seen him two, maybe three times and last time I was there he gave me a test ...
    
    
      273
      BOYCE:  Uh, huh.
    
    
      274
      MILLER:  ... uh, it was a bunch of bull shit, in plain English.  If the big wheel turns one way, what way does the little wheel turn?    So I took that test.  He says, alright, he says, I say when do I come back, because this is part of my parole.
    
    
      275
      BOYCE:  I see.
    
    
      276
      MILLER:  And he says, uh, I'll call you and let you know, he says I want to get this, work this test out first.  He up to this date, the man has never called me, uh ...
    
    
      277
      BOYCE:  How do you feel about this?
    
    
      278
      MILLER:  Well, I think it's wrong.
    
    
      279
      BOYCE:  Would you, do you, did you feel that after not finding out the results of that test that you might do something that you might not be responsible for?
    
    
      280
      MILLER:  No.
    
    
      281
      BOYCE:  Did you feel that you were capable, maybe, of doing something because you didn't get the results of this ... because they didn't like, help you, did they?
    
    
      282
      MILLER:  No.
    
    
      283
      BOYCE:  Well, then did you still feel this way that something might happen it would be their fault because, as far as I'm concerned if something did happen, it's not your fault, it's their fault ...
    
    
      284
      MILLER:  Right.
    
    
      285
      BOYCE:  ... because that was a part of your parole ...
    
    
      286
      MILLER:  Right.
    
    
      287
      BOYCE:  ... and they didn't live up to it.
    
    
      288
      MILLER:  Right.
    
    
      289
      BOYCE:  You agree with me?
    
    
      290
      MILLER:  Yeah, that ...
    
    
      291
      BOYCE:  So, therefore, if you did commit an act, actually they're the ones that are to blame, in my eyes ...
    
    
      292
      MILLER:  Right.
    
    
      293
      BOYCE:  ... not you as an individual.  You were there seeking help.  You went there, they didn't right, you went there voluntarily, right?
    
    
      294
      MILLER:  Right.  It was, uh, it was all set up through ...
    
    
      295
      BOYCE:  It was all set up.
    
    
      296
      MILLER:  ... the parole board, or well, my parole officer, I believe set it up.  At that time it was, uh, Gene, uh, DiGennie, I believe his name was.
    
    
      297
      BOYCE:  DiGianni.
    
    
      298
      MILLER:  DiGianni.
    
    
      299
      BOYCE:  Frank, you're very, very nervous.  Now, I, I don't, you know, you, you're, you understand what I'm saying?
    
    
      300
      MILLER:  Yeah, I know what you're saying.
    
    
      301
      BOYCE:  Now, there's a reason for that, isn't there?
    
    
      302
      MILLER:  Yes.
    
    
      303
      BOYCE:  Do you want to tell me about it?
    
    
      304
      MILLER:  Being involved in something like this is ...
    
    
      305
      BOYCE:  Is what, does it, does it, does it visibly shake you physically?
    
    
      306
      MILLER:  Yes, it does, because, well, Officer Scott can tell you, it ain't been not even a month ago I sat right in the same room ...
    
    
      307
      BOYCE:  Uh, huh.
    
    
      308
      MILLER:  ... behind the girl that I really loved, because she was a minor her father forced her into making statements, which, she didn't lie on the statements.  I tried to cover up with Officer Scott until I heard from her and she said yes, she says, I did tell him, she says, I had to tell him.  So, then when I talked to my lawyer, you know, I admitted to him, I admitted to my parole officer, I said I'm not making a liar out of the girl, cause I love her too much and so I admitted, you know, he asked me if we were having sex ...
    
    
      309
      BOYCE:  Alright.  What ...
    
    
      310
      MILLER:  ... and, uh, I had no intentions of making a liar out of her.
    
    
      311
      (Emphasis supplied).  At this point, twenty-seven minutes into the second interrogation, it was briefly interrupted while the recording cassette was turned over.  Boyce had by then spent seven minutes attempting to capitalize on the emotional response he attempted to elicit by his staged phone call about Ms. Margolin's recent death.  I leave it to the reader to judge whether this colloquy establishes that, in the words of the majority opinion, Miller "remained quite impassive."    Majority opinion at 607.  Having listened to the tape recording on several occasions, I represent that Miller sounds, at this point of the interrogation, increasingly tense and emotional.  So emotional, indeed, that the interrogator, Boyce, stated, "Frank, you're very, very nervous."
    
    
      312
      The colloquy above, occurring immediately following Boyce's lie about the time of death, is not mentioned by the majority in connection with the police lies because the majority, bent on a result, has chosen to judge the police conduct not in light of the totality of the circumstances, but by subdividing each instance of police misconduct and discussing it in isolation.  Thus it chooses to treat the colloquy that immediately followed Boyce's lies under the heading of Boyce's promises.  These are dismissed with the observation, "While such a statement might have made Miller feel more comfortable about speaking to Boyce, it would not render his confession the product of a mistaken belief that the state would grant him leniency."    Majority opinion at 610.  The total unfairness of that cavalier dismissal of the intended effect upon Miller's will may best be judged in light of the colloquy that continued as soon as the tape recorder was turned on:
    
    
      313
      BOYCE:  Now listen to me Frank.  This hurts me more than it hurts you, because I love people.
    
    
      314
      MILLER:  It can't hurt you anymore than it hurts me.
    
    
      315
      BOYCE:  Okay, listen Frank, I want you ...
    
    
      316
      MILLER:  I mean even being involved in something like this.
    
    
      317
      BOYCE:  Okay, listen Frank.  If I promise to, you know, do all I can with the psychiatrist and everything, and we get the proper help for you, and get the proper help for you, will you talk to me about it?
    
    
      318
      MILLER:  I can't talk to you about something I'm not ...
    
    
      319
      BOYCE:  Alright, listen Frank, alright, honest.  I know, I know what's going on inside you, Frank.  I want to help you, you know, between us right now.  I know what going on inside you, Frank, you've got to come forward and tell me that you want to help yourself.  You've got to talk to me about it.  This is the only way we'll be able to work it out.  I mean, you know, listen, I want to help you, because you are in my mind, you are not responsible.  You are not responsible, Frank.  Frank, what's the matter?
    
    
      320
      MILLER:  I feel bad.
    
    
      321
      BOYCE:  Frank, listen to me, honest to God, I'm I'm telling you, Frank (inaudible).  I know, it's going to bother you, Frank, it's going to bother you.  It's there, it's not going to go away, it's there.  It's right in front of you, Frank.  Am I right or wrong?
    
    
      322
      MILLER:  Yeah.
    
    
      323
      BOYCE:  You can see it Frank, you can feel it, you can feel it, but you are not responsible.    This is what I'm trying to tell you, but you've got to come forward and tell me.  Don't, don't, don't let it eat you up, don't, don't fight it.  You've got to rectify it, Frank.  We've got to get together on this thing, or I, I mean really, you need help, you need proper help and you know it, my God, you know, in God's name you, you, you know it.  You are not a criminal, you are not a criminal.
    
    
      324
      MILLER:  Alright.  Yes, I was over there and I talked to her about the cow and left.  I left in my car and I stopped up on the road where, you know, where the cow had been and she followed me in her car ...
    
    
      325
      (Emphasis supplied).  Thus, approximately thirty minutes into the second interrogation, Miller made his first incriminating statement.  By far the largest part of that thirty minutes is comprised of lies and promises by Boyce.  The majority's suggestion that these lies and promises had no effect upon Miller's will is utter speculation.  The lies and promises were directed to the sole purpose of obtaining a confession.  There is nothing in the record from which it can be inferred that Miller's abandonment of his self-interested denials of involvement in the homicide was the product of any other influence.  The majority opinion describes Boyce's conduct as if he were a confessor, offering solace under the seal of the confessional, or a psychiatrist offering relief from anxiety under the shelter of a physician-patient privilege, rather than what he was--a wily interrogator determined to break down Miller's resistance by lies and false promises.  The majority's treatment of the police tactics leading to Miller's collapse is about as fair as those tactics.  Confession may be good for the soul, but it was Miller's freedom, not his soul, that was at stake, and it was his freedom, not his soul, that interested Boyce.
    
    
      326
      Once Miller made the blunder of placing himself in the victim's company, Boyce quickly pressed his advantage.  Miller at first attempted to concoct a childishly implausible story about witnessing an attack by a stranger.  Boyce continued with the psychological ploy of promising assistance, saying, "Let it come out, Frank, I'm here, I'm here with you now.  I'm on your side, I'm on your side, Frank.  I'm your brother, you and I are brothers Frank.  We are brothers, and I want to help my brother."    When Miller persisted in the tale about the stranger, Boyce asked:  "Listen Frank, this guy, do you know him?    Do you know where he lives?" and Miller responded, "No, I don't know where he lives."    At that point the tape recording becomes inaudible, indicating that Miller is temporarily unable to talk.  Then, for the first time Boyce asked Miller directly, "You killed the girl didn't you?"    Miller's denial prompted a resort to further promises of help:
    
    
      327
      BOYCE:  Honest, Frank?    It's got to come out.  You can't leave it in.  It's hard for you, I realize that, how hard it is, how difficult it is, I realize that, but you've got to help yourself before anybody else can help you.  And we're going to see to it that you get the proper help.  This is our job, Frank.  This is our job.  This is what I want to do.
    
    
      328
      MILLER:  By sending me back down there.
    
    
      329
      BOYCE:  Wait a second now, don't talk about going back down there.    First thing we have to do is let it all come out.  Don't fight it because it's worse, Frank, it's worse.  It's hurting me because I feel it.  I feel it wanting to come out, but it's hurting me, Frank.  You're my brother, I mean we're brothers.  All men on this, all men on the face of this earth are brothers, Frank, but you got to be completely honest with me.
    
    
      330
      MILLER:  I'm trying to be, but you don't want to believe me.
    
    
      331
      BOYCE:  I want to believe you, Frank, but I want you to tell me the truth, Frank, and you know what I'm talking about and I know what you're talking about.  You've got to tell me the truth.  I can't help you without the truth.
    
    
      332
      MILLER:  I'm telling you the truth.  Sure, that's her blood in the car because when I seen the way she was cut I wanted to help her, and then when she fell over I got scared to even be involved in something like this, being on parole and ...
    
    
      333
      (Emphasis supplied).
    
    
      334
      The majority dismisses Boyce's statements with the comment that Boyce never "state[d] that he had any authority to affect the charges against Miller."    Majority opinion at 610.  It is quite impossible to gather any other meaning from the words "and we're going to see that you get the proper help.  This is our job, Frank.  This is our job.  This is what I want to do."
    
    
      335
      By the thirty-fifth minute of the interrogation Boyce had an admission from Miller that Ms. Margolin's body had been in his car, but Miller still persisted in his denial that he had killed her.  At that point Boyce shifted to a new tactic, suggesting for the first time that the homicide may have been an accident, and thereby suggesting to Miller another way in which Boyce could help him.  The interrogation continued:
    
    
      336
      BOYCE:  I realize this, Frank, it may have been an accident.  Isn't that possible, Frank?    Isn't that possible?
    
    
      337
      MILLER:  Sure, it's possible.
    
    
      338
      BOYCE:  Well, this is what I'm trying to bring out, Frank.  It may be something that, that you did that you can't be held accountable for.    This is, I can help you, I can help you once you tell me the truth.  You know what I'm talking about.  I want to help you, Frank.  I like you.  You've been honest with me.    You've been sincere and I've been the same way with you.  Now this is the kind of relationship we have, but I can't help you unless you tell me the complete truth.  I'll listen to you.  I understand, Frank.  You have to believe that, I understand.  I understand how you feel.  I understand how much it must hurt you inside.  I know how you feel because I feel it too.  Because some day I may be in the same situation Frank, but you've got to help yourself.  Tell me exactly what happened, tell me the truth, Frank, please.
    
    
      339
      MILLER:  I'm trying to tell you the truth.BOYCE:  Let me help you.  It could have been an accident.  You, you've got to tell me the truth, Frank.  You know what I'm talking about.  I can't help you without the truth.  Now you know and I know that's, that's, that's all that counts, Frank.  You know and I know that's what counts, that's what it's all about.  We can't hide it from each other because we both know, but you've got to be willing to help yourself.  You know, I don't think you're a criminal.  You have this problem like we talked about before, right?
    
    
      340
      MILLER:  Yeah, you, you say this now, but this thing goes to court and everything and you ...
    
    
      341
      (Emphasis supplied).
    
    
      342
      Faced with Miller's reference at this point to the possible use of his admissions against him in court and his attempt to discuss a prior experience with the law, Boyce was prompted to interrupt:
    
    BOYCE:  Wait, whoa, whoa
    
      343
      * * *
    
    BOYCE:  Frank, Frank
    
      344
      * * *
    
    
      345
      BOYCE:  Frank, you, you're talking to me now.  We have, we have a relationship, don't we?    Have I been sincere with you, Frank?
    
    
      346
      MILLER:  Yeah, yes.
    
    
      347
      BOYCE:  ... have I been honest?
    
    
      348
      MILLER:  Yes.
    
    
      349
      BOYCE:  Have I defined your problem, Frank?    Have I been willing to help you?    Have I stated I was willing to help you all I can?
    
    
      350
      MILLER:  Yes.
    
    
      351
      BOYCE:  Do I mean it?
    
    
      352
      MILLER:  Yes.
    
    
      353
      Thus as soon as Miller's mind turned to the dangerous area of possible self-incrimination Boyce took immediate steps to negate whatever residual effects the Miranda warnings, given forty minutes before, might have had.  He immediately reiterated that he was only interested in helping Miller, not in obtaining admissions to be used against him.  Boyce immediately thereafter reassured Miller:
    
    
      354
      BOYCE:  Whenever I talk to anybody I talk the same way, because you have, a very, very serious problem, and we want to prevent anything in the future.  This is what's important, Frank, not what happened in the past.  It's right now, we're living now, Frank, we want to help you now.  You've got a lot more, a lot more years to live.
    
    
      355
      MILLER:  No, I don't.
    
    
      356
      BOYCE:  Yes, you do.
    
    
      357
      MILLER:  No, I don't.
    
    
      358
      BOYCE:  Don't say you don't.  Now you've got to tell me.
    
    
      359
      MILLER:  Not after all this, because this is going to kill my father.
    
    
      360
      Miller's totally out-of-place reference to his father at this point suggests a highly emotional and confused state of mind.  Boyce immediately capitalized on his emotional state by suggesting:
    
    
      361
      BOYCE:  ... You've got to do it for yourself, for your family, for your father, this is what's important the truth, Frank.  Just tell me.  You didn't mean to kill her did you?
    
    
      362
      * * *
    
    
      363
      BOYCE:  What made you do this, please tell me.  Please tell me now.  What made you do this?
    
    
      364
      MILLER:  I don't know.
    
    
      365
      Miller's response, "I don't know," forty-two minutes into the interrogation, was the first statement that could be construed as an admission that he had slashed Ms. Margolin's throat.  At that point the tone of the interrogation immediately changed.  Although Boyce twice more repeated that "you've got to get the proper help, Frank," and "I just want you to come out and tell me, so I can help you, that's all," the interrogation became quite crisp and specific.  Once Miller was broken, Boyce's interrogation was carefully designed to elicit evidence that would support a charge that the homicide took place during an attempted rape;  a charge that in New Jersey amounts to felony murder.  The last eleven minutes of the interrogation is strikingly different from what went before.  Miller, who until the critical admission thirty minutes into the interrogation had successfully resisted admitting being with Ms. Margolin, and who for the next twelve minutes continued to maintain he did not kill her, was led like an automaton through a series of admissions that totally incriminated him.  The difference in the tone of the interrogation, during the last eleven minutes, of which the majority takes no notice, indicates that Miller's will to resist self-incrimination had been was overborne.
    
    
      366
      The tape-recorded session ended at 2:45 A.M.  The last questions of significance were these:
    
    
      367
      BOYCE:  Would you be willing to sit down with us while we take a statement from you?
    
    
      368
      MILLER:  Yes.
    
    
      369
      BOYCE:  So it can be incorporated, you follow me?
    
    
      370
      MILLER:  Yeah.
    
    
      371
      BOYCE:  In order to help you.
    
    
      372
      MILLER:  Uh, huh.
    
    
      373
      Thus even at the end of the tape recorded session Boyce continued to represent that the written statement, which he could conveniently substitute for the tape recording, was "In order to help [Miller]."  We may be reasonably certain that the written statement, had it been signed, would have contained only the questions and answers in the last eleven minutes of the tape recording, for only these were useful in establishing that Miller committed a felony murder.
    
    
      374
      The reason why the state had to preserve and make use of the tape-recorded interrogation appears in Boyce's testimony at the suppression hearing:
    
    
      375
      Q. I gather that [a] statement was never taken, is that right?
    
    
      376
      A. It was not.
    
    
      377
      Q. Why was that, Officer?
    
    
      378
      A. Momentarily after terminating this particular interview Mr. Miller went into as I can best define it a state of shock.
    
    
      379
      Q. What do you mean by that, sir?
    
    
      380
      A. He was sitting on a chair--... Mr. Miller had been sitting on a chair, had slid off the chair on the floor maintaining a blank stare on his face, staring straight ahead and we were unable to get any type of verbal response from him.
    
    
      381
      Q. As I understand it he was then removed to the Hunterdon Medical Center, is that right?
    
    
      382
      A. Yes, the first aid squad was contacted immediately.
    
    
      383
      Trial Transcript, Dec. 4, 1973, at 84-85, State v. Miller.
    
    
      384
      Incredibly, the only reference in the majority's opinion to Miller's collapse is the cryptic sentence at the end of Part I:  "One hour into the interrogation, Miller confessed to the murder of Deborah Margolin, then passed out."    Majority opinion at 600.  The majority does not even recognize Miller's collapse into a catatonic state and his transportation to a hospital as relevant circumstances in its totality of the circumstances analysis!    This most telling of all indications as to the effect on Miller of Boyce's tactics is simply ignored.  Instead the majority opinion perversely reasons that Boyce's manner and statements may have stirred in Miller the urge to confess, "but, in our view, they did not produce psychological pressure strong enough to overbear the will of a mature, experienced man, who was suffering from no mental or physical illness...."  Majority opinion at 613.  The reasoning is perverse because it ignores the fact that at the end of the interrogation Miller collapsed and was taken to a hospital.  How can it be honestly represented that he was suffering from no mental or physical illness?    And, unless the majority identifies some other reason for Miller's abrupt abandonment of his self-interested denials of guilt than the psychological coercion exercised by Boyce, what other cause is left?
    
    
      385
      The tape recording reveals that while at first Miller was lucid by the second half of the interrogation he was far from fully oriented.  It reveals erratic behavior and moments of lucidity interlaced with sudden withdrawal.  At one point, in response to the question whether being involved in something like this visibly shook him, Miller fell into an incongruous reverie about a former lover, also a minor.  For example, Miller stated,
    
    
      386
      Yes, it does, because, well, Officer Scott can tell you, it ain't been not even a month ago I sat in the same room ... behind the girl that I really loved, because she was a minor her father forced her into making statements, which, she didn't lie on the statements.  I tried to cover up with Officer Scott until I heard from her and she said yes, she says, I did tell him, she says.  I had to tell him.  So, then when I talked to my lawyer, you know, I admitted to him, I admitted to my parole officer, I said I'm not making a liar out of the girl, cause I love her too much and so I admitted, you know, he asked me if we were having sex ... and, uh, I had no intentions of making a liar out of her.
    
    
      387
      Whatever this pathetic mixture of heroism, self-pity, self-deception, and depression may have meant, it surely is not indicative of a mature man in control of his will to resist.  Nor does the sobbing on the tape that begins immediately after this nonsensical passage reveal a man in full control of his faculties.  Nor does his palpably immature reference to the loss of his father's esteem, of which Boyce promptly took advantage, suggest mature psychological development.  The only record evidence supporting the majority's description of Miller as a "mature, experienced man" is Miller's age.  No mature experienced man in full control of his faculties would have responded to Boyce's psychological ploys so inappropriately.  Indeed the implausible prevarications to which he resorted in an effort to explain away the slip he made in admitting that Ms. Margolin's body had been in his car--the tale of the man who came from nowhere, cut her throat, and cut his hand--is roughly at the response level of a pre-adolescent child.  Miller, a man with a history of mental illness and a ninth-grade education, sounds on the tape recording, and reads in the transcription, both unstable and childlike.  Boyce, on the other hand, sounds like a strong-willed person fully knowledgeable about Miller's psychological weaknesses and prepared to exploit them in order to overcome Miller's will to avoid self-incrimination.
    
    III.
    
      388
      Just as it selectively ignores critical segments of the interrogation, the majority selectively ignores established precedent in its effort to concoct a legal justification for holding Miller's confession voluntary.  The majority concedes, without enthusiasm, that a confession obtained in an interrogation accompanied by physical violence is deemed per se involuntary.  Majority opinion at 604.  The majority also admits that psychological coercion can often be equally effective in overcoming the constitutional right to remain silent.  Id.  Finally, the majority recognizes that the court must consider the totality of the circumstances.  Id. at 604.  But instead of treating the issue as one of law, in which the reviewing court weighs the circumstances to determine whether a confession obtained in such a totality of circumstances violates appropriate norms of police conduct, the majority makes the unwarranted assumption that no matter how outrageously the police behave, short of physical violence, a confession may be used if a majority of a reviewing court arrives at the subjective belief that the defendant's will was not overborne.  As I point out in Part II, the facts indicate that Miller's will was overcome.  But a factual determination of the effects of the interrogation on Miller's will is not required.  As a matter of law some police conduct in the interrogation process simply cannot be tolerated.
    
    
      389
      It has long been established that confessions obtained by virtue of even implied promises of leniency are deemed to be inadmissible.   See Bram v. United States, 168 U.S. 532, 542-43, 18 S.Ct. 183, 186-87, 42 L.Ed. 568 (1897).  The majority attempts to undercut the authority of the Bram rule by suggesting that it is no longer interpreted as a per se proscription against promises made during interrogations.  The two Supreme Court cases cited in support of that proposition do not sustain it.  Both cases state that promises made to a defendant in the presence of the defendant's attorney do not suffer from the same vice as promises made in the secrecy of police interrogation rooms.   See Hutto v. Ross, 429 U.S. 28, 29, 97 S.Ct. 202, 203, 50 L.Ed.2d 194 (1976) (per curiam );  Brady v. United States, 397 U.S. 742, 754, 90 S.Ct. 1463, 1472, 25 L.Ed.2d 747 (1970).  The Brady court made this distinction explicitly, explaining that
    
    
      390
      Bram dealt with a confession given by a defendant in custody, alone and unrepresented by counsel.  In such circumstances, even a mild promise of leniency was deemed sufficient to bar a confession, not because the promise was an illegal act as such, but because defendants at such times are too sensitive to inducement and the possible impact on them too great to ignore and too difficult to assess.
    
    
      391
      397 U.S. at 754, 90 S.Ct. at 1472.  The Hutto Court cited and reiterated the Bram test, stating, "The test is whether the confession was 'extracted by any sort of threats or violence, [or] obtained by any direct or implied promises, however slight, [or] by the exertion of any improper influence.' "    429 U.S. at 30, 97 S.Ct. at 203.  The Supreme Court has never retreated from the Bram holding.2   Indeed, other federal circuit courts of appeals have consistently cited the Bram test as the standard by which voluntariness will be evaluated.   See, e.g., United States v. Costello, 750 F.2d 553, 555 (7th Cir.1984);  United States v. Gonzalez, 736 F.2d 981, 982 (4th Cir.1984);  Jarrell v. Balkcom, 735 F.2d 1242, 1250 (11th Cir.1984), cert. denied, --- U.S. ----, 105 S.Ct. 2331, 85 L.Ed.2d 848 (1985);  Rachlin v. United States, 723 F.2d 1373, 1377 (8th Cir.1983).  Therefore, when promises, however slight, are made in the interrogation room rather than in the presence of counsel, those promises render the resulting confession inadmissible.
    
    
      392
      Boyce's second interrogation cannot be read in pieces.  Its effect was cumulative, as it was intended to be.  From the moment he began it, Boyce put relentless psychological pressure on Miller.3   Boyce repeatedly assured Miller that he only wanted to help Miller, that Miller was not a criminal, that Miller was not responsible for his actions, and that Miller would not be punished.  In addition to these express promises, Boyce confused Miller by lying to him about the time of Ms. Margolin's death and the strength of the evidence against Miller.
    
    
      393
      The majority emphasizes that the key issue is whether, in the totality of the circumstances, Miller's will was overborne.  While I agree with the majority's general focus, I disagree with the majority's method of analysis.  In ascertaining the effects of Boyce's interrogation tactics on Miller, the majority attempts to place itself in Miller's position and thereby evaluate the impact of Boyce's promises and lies.  Unfortunately, we cannot know what effects those promises and lies had on Miller's will.  Instead what we can know is that when, as in this case, the record reveals a series of repeated promises of psychological help and assurances that the suspect will not be punished, Bram requires as a matter of law that we hold the resulting confession to be coerced.  Any other rule leads to the kind of subjective speculation that the majority engages in.  Thus applying the Bram rule within the totality of the circumstances4 of Miller's interrogation, the confession used to commit Miller must be declared inadmissible as a violation of Miller's fifth amendment right to remain silent.
    
    Conclusion
    
      394
      The judges in the majority, determined at any cost to reach the end that no relief will be given to a person they feel to be the perpetrator of a heinous offense, have distorted the record and misstated the law with respect to permissible police methods of interrogation.  I share their obvious abhorrence of Mr. Miller's offense.  It is well, however, to recall Justice Frankfurter's admonition that "law triumphs when the natural impulses aroused by a shocking crime yield to safeguards which our civilization has evolved for an administration of criminal justice at once rational and effective."   Watts v. Indiana, 338 U.S. 49, 55, 69 S.Ct. 1347, 1350, 93 L.Ed. 1801 (1949).  The majority has yielded to the natural impulses rather than to the safeguards that the law has imposed to restrain abusive methods of interrogation.  I dissent.
    
    
      395
      APPENDIX*
    
    
      396
      BOYCE:  Testing 1 2 3.  Testing 1 2 3.  (Cough) Testing 1 2 3.  Testing
    
    
      397
      BOYCE:  Tuesday (cough), Tuesday, August 14, 1973, 1:47 A.M., Flemington State Police Barracks, Detectives' room, this is the start of an interrogation between Detective William Doyle, 1884, New Jersey State Police, Detective Boyce, 2097, also from the New Jersey State Police, and one Frank Melvin Miller, and this interrogation is in reference to the investigation now being conducted which involves the death of Miss Deborah Selma Margolin, white female, age 17, Brown Station Road, R.D. Ringoes, New Jersey.  That's a correction, that's Bowne Station Road.  This death occurring sometime approximately between 11:15 A.M., 8/13/73, and 5:45 P.M., 8/13/73.
    
    
      398
      BOYCE:  Now, Mr. Miller, uh Frank, I talked to you earlier.
    
    
      399
      MILLER:  Yeah, at PFD.
    
    
      400
      BOYCE:  At PFD where you're employed.  I was accompanied by Trooper Robert Scott at that time.
    
    
      401
      MILLER:  Yes, sir.
    
    
      402
      BOYCE:  We identified ourselves and we spoke to you on a voluntary basis in which you extended your cooperation to us, uh, in regards to this investigation of the death of the girl that I have just mentioned.
    
    
      403
      MILLER:  Yes, sir.
    
    
      404
      BOYCE:  You agreed at that time, voluntarily, to speak with us in regards to this matter ...
    
    
      405
      MILLER:  Yes, sir.
    
    
      406
      BOYCE:  ... also gave us permission while we were there to look at your vehicle ...
    
    
      407
      MILLER:  Yes, sir.
    
    BOYCE:  ... to take clothing from your locker
    
      408
      * * *
    
    
      409
      MILLER:  Yes, sir.
    
    
      410
      BOYCE:  ... which is located inside the PFD plant, all of this being done, of course, with the cooperation that was extended to us from you on a voluntary basis.
    
    
      411
      MILLER:  Right.
    
    
      412
      BOYCE:  Now, Frank, you've been here since approximately 11, 11:49 P.M. which would actually be yesterday, 8/13/73.  What I'm going to do at this time and, of course, let me just reiterate here, you, you, you came down, you accompanied Trooper Scott and myself here on a voluntary basis ... that correct?
    
    
      413
      MILLER:  Right.
    
    
      414
      BOYCE:  Okay, and of your own free will?
    
    
      415
      MILLER:  Yes, sir.
    
    
      416
      BOYCE:  Without duress?
    
    
      417
      MILLER:  Yes, sir.
    
    
      418
      BOYCE:  Or having been threatened to do so.
    
    
      419
      MILLER: Right.
    
    
      420
      BOYCE:  Okay, and while you were here you've been conversing again on a voluntary basis, with Trooper Scott, is that not right?
    
    
      421
      MILLER:  Yes, sir.
    
    
      422
      BOYCE:  Okay (cough).  What I'm going to do at this time, as I've indicated already, you've been here for awhile, it is now almost 2:00 A.M. on the 14th, which puts you here approximately 2 hours.  I'm going to advise you at this time of your constitutional rights, which you are entitled to, and start off by saying:  Number 1, you have the right to remain silent and not to answer any questions, Number 2, if you decide to waive your right to remain silent, anything you say will be used against you if it is incriminating in nature.  You have the right to be represented by an attorney before and during any questioning.  If you want an attorney and cannot afford one, an attorney will be provided for you free by the State of New Jersey.  Do you understand these rights, Frank?
    
    
      423
      MILLER:  Yes, sir.
    
    
      424
      BOYCE:  Are you willing to talk to us without having an attorney?    In reference ...
    
    
      425
      MILLER:  Yes.
    
    
      426
      BOYCE:  ... to the, what we have talked about?
    
    
      427
      MILLER:  Yes.
    
    
      428
      BOYCE:  Okay, fine.
    
    
      429
      MILLER:  But, at any time though, I can, uh, say no, right?    I mean, you know ...
    
    
      430
      BOYCE:  Yes, Frank, let me go over that again.
    
    
      431
      MILLER:  Yeah, I understand that, that ...
    
    
      432
      BOYCE:  You understand your rights, Frank?
    
    
      433
      MILLER:  Yeah.
    
    
      434
      BOYCE:  Okay.  (cough).  You may stop at anytime during this interrogation ...
    
    
      435
      MILLER:  Yeah.
    
    
      436
      BOYCE:  ... and request to remain silent and we will honor your request.
    
    
      437
      MILLER:  Yes.
    
    
      438
      BOYCE:  Okay?
    
    
      439
      MILLER:  Yeah.
    
    
      440
      BOYCE:  Now, we're talking about the death of a young girl, Frank, right?
    
    
      441
      MILLER:  Yes, sir.
    
    
      442
      BOYCE:  ... very attractive, a very attractive young girl, who apparently at the time of her death was wearing nothing but a bathing suit, two piece bathing suit.  We feel that there's a sexual aspect at this time is a good indication that there is some type of sexual assault that's associated with this crime ... Before we continue, Frank, what I would like to ask you to do is, I'm going to ask you to sign the back of this card, okay, with your rights on it, indicating that you in fact have been ...
    
    
      443
      MILLER:  Yeah, yeah ...
    
    
      444
      BOYCE:  ... advised of your rights.
    
    
      445
      MILLER:  I got a pen right here.
    
    
      446
      BOYCE:  Just sign the back of that and date it.  (Clanging noices.)    Today's the 14th.
    
    
      447
      MILLER:  You want it signed the 14th?
    
    
      448
      BOYCE:  Yes, please.
    
    
      449
      MILLER:  Alright.
    
    
      450
      BOYCE:  Okay.
    
    
      451
      MILLER:  Alright?
    
    
      452
      BOYCE:  Thank you.  Now, getting back to the, uh, the death of Miss Margolin, which we were discussing, you already related to me and Trooper Scott at the time in which you did it that as to where you were and what your activities were yesterday.
    
    
      453
      MILLER:  Right, right.
    
    
      454
      BOYCE:  You indicated you came back into the Ringoes area about 11:00 A.M., is that correct?
    
    
      455
      MILLER:  It was somewheres in there, yeah, give or take a little bit of time.
    
    
      456
      BOYCE:  Let's try and narrow that down, Frank.  Can you think of anything that would give you any indication as to why you say now you came back into the area sometime around 11 o'clock.
    
    
      457
      MILLER:  Well, this is what I told you at the barracks, or I mean at PFD.  I figured it was between 11, uh, around 11 o'clock, because I figured I got home around 11:30, quarter to 12, back to my parents' house and I had stopped at the Post Office in Ringoes to mail a letter which I forgot to mail this morning, or yesterday morning.
    
    
      458
      BOYCE:  Alright, but, in other words what I'm saying Frank is how can you substantiate in your mind, in your mind ...
    
    
      459
      MILLER:  Uh, huh.
    
    
      460
      BOYCE:  ... as to wh ... how, why you feel a this time that you arrived in Ringoes, went to the Post Office around 11 o'clock, can you tell me how you come to this conclusion, or what was, what activity you were involved in prior to getting, getting into Ringoes that would come to your mind as, you know, making you think that you arrived in Ringoes at 11 o'clock?
    
    
      461
      MILLER:  Well, because I was home around 11:30, quarter to 12, because, uh, so I figured, uh, it had to be somewheres around 11 o'clock that I was in Ringoes, that's about the only thing I can think of.
    
    
      462
      BOYCE:  Alright, now, before, when I confronted you with the time element, you said that you were in Ringoes at 11, you got home around 12 o'clock, now, you say 11:30 or quarter to 12.  Now, I'm going to ask you a question, how long does it take you to drive your vehicle from the Ringoes Post Office to your father's house?
    
    
      463
      MILLER:  That depends on how fast you go.
    
    
      464
      BOYCE:  Okay, let's say if you drive at a normal rate of speed.
    
    
      465
      MILLER:  I'd say maybe 20 minutes.
    
    
      466
      BOYCE:  20 minutes.  How far would you say it is, Frank?
    
    
      467
      MILLER:  Oh, 6, 7 miles, maybe.
    
    
      468
      BOYCE:  6, 7 miles.  Now, you've indicated once prior to this interrogation that you got home around 12.  Now you've indicated 11:30, quarter to 12.  Now, what time did you get home, Frank?
    
    
      469
      MILLER:  I'm not exactly sure.
    
    
      470
      BOYCE:  Now that, now you're not sure.
    
    
      471
      MILLER:  Well, I, I say, uh, I figure anywheres from 11:30 to 12 o'clock, quarter to 12, somewheres around there ...
    
    
      472
      BOYCE:  Alright ...
    
    
      473
      MILLER:  ... because I didn't look at the clock.
    
    
      474
      BOYCE:  Okay.  Why do you think it was somewhere around there?
    
    
      475
      MILLER:  Because I got myself something to eat and, uh, got my stuff together to get ready to go to work, and I wanted to stop up the hospital to see how this fella was ...
    
    
      476
      BOYCE:  What time did you leave, how long were you, what time did you arrive at the Post Office?    Approximately?
    
    
      477
      MILLER:  I'd say around 11 o'clock.
    
    
      478
      BOYCE:  Okay, how long were you in the Post Office, Frank?
    
    
      479
      MILLER:  A few minutes is all.
    
    
      480
      BOYCE:  A few minutes.  What did you do when you walked outside, Frank?
    
    
      481
      MILLER:  Got in my car.
    
    
      482
      BOYCE:  And went where?
    
    
      483
      MILLER:  Home.
    
    
      484
      BOYCE:  Okay, Frank.  You indicated it takes approximately 20 minutes to drive home.
    
    
      485
      MILLER:  Approximately, yeah.
    
    
      486
      BOYCE:  Therefore, you would have arrived home in the area of 11:15, 11:20 A.M., but you indicated to me on 4, 5, maybe 6, 7, 8, 9 occasions already that you arrived home between quarter to 12, 12 o'clock.  Now, I'm ... am I right?
    
    
      487
      MILLER:  Yeah.
    
    
      488
      BOYCE:  Okay, now, this is a problem.
    
    
      489
      MILLER:  I realize this ...
    
    
      490
      BOYCE:  This creates a very serious problem.
    
    
      491
      MILLER:  Times, I uh, you know, I uh ...
    
    
      492
      BOYCE:  Oh, well, you know, it's not so much times, knowing what time it is, but you do know how long it takes you to get from point A to point B, you've already indicated ...
    
    
      493
      MILLER:  Yeah, approximately.
    
    
      494
      BOYCE:  Approximately 20 minutes.
    
    
      495
      MILLER:  Right.
    
    BOYCE:  So that's 11:15, 11:20
    
      496
      MILLER:  Right.
    
    
      497
      BOYCE:  12 o'clock comes to your mind and I see a 40 minute, anywhere from a half hour to a 40 minute period ... where are we, where are you, is what I should say?
    
    
      498
      MILLER:  Yeah.
    
    
      499
      BOYCE:  And I, I just, you know, this, this, I have a big question mark in my mind right now.
    
    
      500
      MILLER:  Right.
    
    
      501
      BOYCE:  Do you see my point, Frank?
    
    
      502
      MILLER:  Yes, sir.
    
    BOYCE:  That's point one.  Your car, right now
    
      503
      * * *
    
    
      504
      MILLER:  Yeah.
    
    
      505
      BOYCE:  ... is dented on the right side?
    
    
      506
      MILLER:  Right.
    
    
      507
      BOYCE:  Your trunk is, I should, may be I should use the words sprang down, because this is some type of a metal spring ...
    
    
      508
      MILLER:  Right, yeah.
    
    
      509
      BOYCE:  ... securing the trunk of your vehicle.  There is red dust on the vehicle, red dust that is visible to the naked eye ...
    
    
      510
      MILLER:  Yeah.
    
    
      511
      BOYCE:  ... when someone looks at it.  It's got red clay or dirt in and around the wheel covers ...
    
    
      512
      MILLER:  Uh, huh.
    
    
      513
      BOYCE:  ... tires.  I'll bet you right now, Frank, there is not another vehicle in Hunterdon County that fits the physical description that we, that Trooper Scott and I saw your vehicle in when we saw it up there tonight.  I'll bet you, that I, I can call up a thousand people right now and there will not be another vehicle that fits the description of your vehicle.  Am I right?
    
    
      514
      MILLER:  There shouldn't be, no, not with the right side of it dented in like that.
    
    
      515
      BOYCE:  That's the second point.  You're with me now, right?
    
    
      516
      MILLER:  Yeah.
    
    
      517
      BOYCE:  Okay.  Your vehicle was involved in an accident, was involved in two accidents.
    
    
      518
      MILLER:  Two accidents.
    
    
      519
      BOYCE:  There was blood found on the left front interior portion of your vehicle, tonight, fresh blood.
    
    
      520
      MILLER:  Fresh blood?
    
    
      521
      BOYCE:  Yes, sir.  This is very, very serious.
    
    
      522
      MILLER:  I realize this.
    
    
      523
      BOYCE:  That's point 3.  Now, you live a few miles from the scene where this young, innocent girl was found.
    
    
      524
      MILLER:  Uh, huh.
    
    
      525
      BOYCE:  You indicate that between 11 and 12 yesterday morning, between 11 and 12, one hour, 60 minutes, you went from, according to your statement ...
    
    
      526
      MILLER:  Right.
    
    
      527
      BOYCE:  ... the Ringoes Post Office to your house, a trip addmitted to me by yourself that takes maybe 20 minutes.
    
    
      528
      MILLER:  About 20 minutes, right.
    
    
      529
      BOYCE:  You wear, and you have a lot of, dark blue trousers.
    
    
      530
      MILLER:  Right.BOYCE:  You have a lot of light blue shirts.
    
    
      531
      MILLER:  Right.
    
    
      532
      BOYCE:  I know, I have a lot of them in my custody now.  We went to your house last night and found blood stains on the front stoop.
    
    
      533
      MILLER:  On the front stoop?
    
    
      534
      BOYCE:  Yes, sir.
    
    
      535
      MILLER:  Well, how did it get there?
    
    
      536
      BOYCE:  I don't know Frank.  Let me ask you, how did it get there?
    
    
      537
      MILLER:  I have no idea.
    
    
      538
      BOYCE:  We obtained a sample of the blood.
    
    
      539
      MILLER:  Right.
    
    
      540
      BOYCE:  Obtained a sample from the vehicle.
    
    
      541
      MILLER:  Uh, huh.
    
    
      542
      BOYCE:  We have a witness, Frank, now this is point 4.  We have a witness who identified your car, who, no, I'm, I'm sorry, let me, I shouldn't say your car, who identified a vehicle that fits the description of your car, at this girl's home, speaking with her, telling her something about a cow being loose.  Someone who was there who wanted to help her, they didn't want to hurt this girl, they didn't want to hurt this girl, Frank, they wanted to help her.  You see, I know this, I know that, ...
    
    
      543
      MILLER:  Yeah.
    
    
      544
      BOYCE:  ... because I can appreciate that, because I would have done the same thing.  If there was something to be rectified, or if somebody had a problem, I would have done the same thing.  I would have wanted to help her.  The vehicle that came onto her property.
    
    
      545
      MILLER:  Right.
    
    
      546
      BOYCE:  ... fits the description of your vehicle.
    
    
      547
      MILLER:  It does.
    
    
      548
      BOYCE:  Yes.  Now, that's the fourth point.  And when I say fits the description, what I mean, Frank, is it fits the description to a 't,' and as we talked about before, how many other vehicles are there like yours in the County right now?
    
    
      549
      MILLER:  There shouldn't be too many, if any ...
    
    
      550
      BOYCE:  If any ...
    
    
      551
      MILLER:  Because of the damage on the righthand side.
    
    
      552
      BOYCE:  Now, what would your conclusion be under those circumstances, if someone told you that?
    
    
      553
      MILLER:  I'd probably, uh, have the same conclusion you got.
    
    
      554
      BOYCE:  Which is what?
    
    
      555
      MILLER:  That I'm the guy that did this.
    
    
      556
      BOYCE:  That did what?
    
    
      557
      MILLER:  Committed this crime.
    
    
      558
      BOYCE:  What crime?
    
    
      559
      MILLER:  Well, you said before the girl was dead, killed, killed this girl.
    
    
      560
      BOYCE:  Who killed this girl?
    
    
      561
      MILLER:  The guy driving this car.
    
    
      562
      BOYCE:  I think the guy driving this car ... wait, let me, I forgot something ... We have a physical description ...
    
    
      563
      MILLER:  Un huh.
    
    
      564
      BOYCE:  ... of this individual from another witness.  The physical description Frank, ...
    
    
      565
      MILLER:  Yeah.
    
    
      566
      BOYCE:  ... Fits you and the clothes you were wearing.  Frank, I don't think you're a criminal.  I don't think you're a criminal.  I don't think you have a criminal mind.  As a matter of fact, I know you don't have a criminal mind, because we've been talking now for a few hours together, haven't we?
    
    
      567
      MILLER:  Right.
    
    
      568
      BOYCE:  Right?
    
    
      569
      MILLER:  Yeah.
    
    
      570
      BOYCE:  You don't have a criminal mind.
    
    
      571
      MILLER:  No.
    
    
      572
      BOYCE:  I know you don't.  But, like I noted before, we all have problems.
    
    
      573
      MILLER:  Right.
    
    
      574
      BOYCE:  Am I right?
    
    
      575
      MILLER:  Yeah, you said this over there at the plant.
    
    
      576
      BOYCE:  And you agree with me?
    
    
      577
      MILLER:  Yes, sir.BOYCE:  I have problems and you have.
    
    
      578
      MILLER:  Right.
    
    
      579
      BOYCE:  Now, how do you solve a problem?
    
    
      580
      MILLER:  That depends on the problem.
    
    
      581
      BOYCE:  Your problem how do we solve it?    How are we going to solve it?
    
    
      582
      MILLER:  This I don't know.
    
    
      583
      BOYCE:  Do you want me to help you solve it?
    
    
      584
      MILLER:  Yeah.
    
    
      585
      BOYCE:  You want me to extend all the help I can possibly give you, don't you?
    
    
      586
      MILLER:  Right.
    
    
      587
      BOYCE:  Are you willing to do the same to me?
    
    
      588
      MILLER:  Yeah.
    
    
      589
      BOYCE:  Now, I feel ...
    
    
      590
      MILLER:  Yeah.
    
    
      591
      BOYCE:  ... who is ever, whoever is responsible for this act ...
    
    
      592
      MILLER:  Yeah.
    
    
      593
      BOYCE:  He's not a criminal.  Does not have a criminal mind.  I think they have aproblem.
    
    
      594
      MILLER:  Uh, huh.
    
    
      595
      BOYCE:  Do you agree with me?
    
    
      596
      MILLER:  Yeah.
    
    
      597
      BOYCE:  They have a problem.
    
    
      598
      MILLER:  Right.
    
    
      599
      BOYCE:  A problem, and a good thing about that Frank, is a problem can be rectified.
    
    
      600
      MILLER:  Yeah.
    
    
      601
      BOYCE:  I want to help you.  I mean I really want to help you, but you know what they say, God helps those who help themselves, Frank.
    
    
      602
      MILLER:  Right.
    
    
      603
      BOYCE:  We've got to get together on this.  You know what I'm talking about, don't you?
    
    
      604
      MILLER:  Yeah, especially if they're trying to say that, you know, that like you say, I'm identified and my car's identified, and uh, we got to get together on this.
    
    
      605
      BOYCE:  Yes we do.  Now, that only a few of the items ...
    
    
      606
      MILLER:  Uh, huh.
    
    
      607
      BOYCE:  ... that we have now.  Your problem, I'm not, let's forget this incident, okay ...
    
    
      608
      MILLER:  Yeah.
    
    
      609
      BOYCE:  ... let's forget this incident, let's talk about your problem.  This is what, this is what I'm concerned with, Frank, your problem.
    
    
      610
      MILLER:  Right.
    
    
      611
      BOYCE:  If I had a problem like your problem, I would want you to help me with my problem.
    
    
      612
      MILLER:  Uh, huh.
    
    
      613
      BOYCE:  Now, you know what I'm talking about.
    
    
      614
      MILLER:  Yeah.
    
    
      615
      BOYCE:  And I know, and I think that, uh, a lot of other people know.  You know what I'm talking about.  I don't think you're a criminal, Frank.
    
    
      616
      MILLER:  No, but you're trying to make me one.
    
    
      617
      BOYCE:  No I'm not, no I'm not, but I want you to talk to me so we can get this thing worked out.  This is what I want, this is what I want, Frank.  I mean it's all there, it's all there.  I'm not saying ...
    
    
      618
      MILLER:  Let me ask you a question.
    
    
      619
      BOYCE:  Sure.
    
    
      620
      MILLER:  Now you say this girl's dead, right?
    
    
      621
      BOYCE:  She died just a few minutes ago.  I just got ... that's what the call was about.
    
    
      622
      MILLER:  Cause Officer Scott said she was in the hospital and I said well then let's go, you know, go right over there.
    
    
      623
      BOYCE:  She was in the hospital ...
    
    
      624
      MILLER:  And, uh ...
    
    
      625
      BOYCE:  ... the call that Detective Doyle got, that's, that's what that call was.
    
    
      626
      MILLER:  Cause, I told him ...
    
    
      627
      BOYCE:  Are you, do you feel what I feel right now?
    
    
      628
      MILLER:  I feel pretty bad.
    
    
      629
      BOYCE:  Do you want to talk to me about it?
    
    
      630
      MILLER:  There's nothing I can tell ...BOYCE:  About how you feel?
    
    
      631
      MILLER:  ... there's nothing I can talk, I mean I feel sorry for this girl, I mean, uh, this is something that, you know ...
    
    
      632
      BOYCE:  That what?
    
    
      633
      MILLER:  Well, it's a shame, uh ...
    
    
      634
      BOYCE:  What did she say to you?
    
    
      635
      MILLER:  Beg your pardon?
    
    
      636
      BOYCE:  What did she say to you?
    
    
      637
      MILLER:  Who?
    
    
      638
      BOYCE:  This girl?
    
    
      639
      MILLER:  I never talked to this gril.  If she was to walk in here now, I wouldn't know, know that she was the girl that, uh, you're talking about.
    
    
      640
      BOYCE:  But you were identified as being there talking to her minutes before she was ... probably this thing that happened to her.  How can you explain that?
    
    
      641
      MILLER:  I can't.
    
    
      642
      BOYCE:  Why?
    
    
      643
      MILLER:  I don't know why, but I, I, you know, how can I explain something that I don't know anything about.
    
    
      644
      BOYCE:  Frank, look, you want, you want help, don't you Frank?
    
    
      645
      MILLER:  Yes, uh huh, yes, but yet I'm, I'm not going to admit to something that, that I wasn't involved in.
    
    
      646
      BOYCE:  We don't want you to, all I want you to do is talk to me, that's all.  I'm not talking about admitting to anything, Frank, I want you to talk to me.  I want you to tell me what you think.  I want you to tell me how you think about this, what you think about this?
    
    
      647
      MILLER:  What I think about it?
    
    
      648
      BOYCE:  Yeah.
    
    
      649
      MILLER:  I think whoever did it really needs help.
    
    
      650
      BOYCE:  And that's what I think and that's what I know.  They don't, they don't need punishment, right?    Like you said, they need help.
    
    
      651
      MILLER:  Right.
    
    
      652
      BOYCE:  They don't need punishment.  They need help, good medical help.
    
    
      653
      MILLER:  That's right.
    
    
      654
      BOYCE:  ... to rectify their problem.  Putting them in, in a prison isn't going to solve it, is it?
    
    
      655
      MILLER:  No sir.  I know, I was in there for three and a half years.
    
    
      656
      BOYCE:  That's right.  That's the, that's not going to solve your problem is it?
    
    
      657
      MILLER:  No, you get no help down there.  The only think you learn is how to, you know ...
    
    
      658
      BOYCE:  Well, let's say this Frank, suppose you were the person who needed help.  What would you want somebody to do for you?
    
    
      659
      MILLER:  Help me.
    
    
      660
      BOYCE:  In what way?
    
    
      661
      MILLER:  In any way that they, they see, you know, fit, that it would help me.
    
    
      662
      BOYCE:  What, what do you think compels somebody to do something like this.  What do you think it is, Frank?
    
    
      663
      MILLER:  Well, it could be a number of things.
    
    
      664
      BOYCE:  Give me an example.
    
    
      665
      MILLER:  It could be a person that, that drinks, uh, you know, a lot, and just, you know, don't know what they, what they did once they been drinking.  It could be somebody with narcotics that, that don't know what they're, you know, what they're doing once they shot up or took some pills or whatever they do, I don't know, I'm not a drug addict and never intend to be.
    
    
      666
      BOYCE:  What else Frank?    What other type of person would do something like this?
    
    
      667
      MILLER:  Somebody with a mental problem.
    
    
      668
      BOYCE:  Right.  Somebody with a ...
    
    
      669
      MILLER:  Mental problem ...
    
    
      670
      BOYCE:  ... serious mental problem, and you know what I'm interested in, I'm not, I'm interested in, in preventing this in the future.
    
    
      671
      MILLER:  Right.
    
    
      672
      BOYCE:  Now, don't you think it's better if someone knows that he or she has a mental problem to come forward with it and say, look, I've, I've, I've done these acts.  I'm responsible for this, but I want to be helped, I couldn't help myself, I had no control of myself and if I'm examined properly you'll find out that's the case.  Is that right or wrong?
    
    
      673
      MILLER:  Yeah, that, they should be examined and, uh, you know, maybe a doctor could find out what's wrong with em.
    
    
      674
      BOYCE:  Have you ever been examined?
    
    
      675
      MILLER:  Yes.
    
    
      676
      BOYCE:  And did you have a problem?
    
    
      677
      MILLER:  Well, when I come, uh, made parole in, uh, September, the uh stipulation was, uh, that I see a psychiatrist.
    
    
      678
      BOYCE:  Alright ...
    
    
      679
      MILLER:  Dr. Taylor over here at the Medical Center, I seen him, two, maybe three times and last time I was there he gave me a test ...
    
    
      680
      BOYCE:  Uh, huh.
    
    
      681
      MILLER:  ... uh, it was a bunch of bull shit, in plain English.  If the big wheel turns one way, what way does the little wheel turn?    So I took that test.  He says, alright, he says, I say when do I come back, because this is part of my parole.
    
    
      682
      BOYCE:  I see.
    
    
      683
      MILLER:  And he says, uh, I'll call you and let you know, he says I want to get this, work this test out first.  He up to this date, the man has never called me, uh ...
    
    
      684
      BOYCE:  How do you feel about this?
    
    
      685
      MILLER:  Well, I think it's wrong.
    
    
      686
      BOYCE:  Would you, do you, did you feel that after not finding out the results of that test that you might do something that you might not be responsible for?
    
    
      687
      MILLER:  No.
    
    
      688
      BOYCE:  Did you feel that you were capable, maybe, of doing something because you didn't get the results of this .. because they didn't like, help you, did they?
    
    
      689
      MILLER:  No.
    
    
      690
      BOYCE:  Well, then did you still feel this way that something might happen it would be their fault because, as far as I'm concerned if something did happen, it's not your fault, it's their fault ...
    
    
      691
      MILLER:  Right.
    
    
      692
      BOYCE:  ... because that was a part of your parole ...
    
    
      693
      MILLER:  Right.
    
    
      694
      BOYCE:  ... and they didn't live up to it.
    
    
      695
      MILLER:  Right.
    
    
      696
      BOYCE:  You agree with me?
    
    
      697
      MILLER:  Yeah, that ...
    
    
      698
      BOYCE:  So, therefore, if you did commit an act, actually they're the ones that are to blame, in my eyes ...
    
    
      699
      MILLER:  Right.
    
    
      700
      BOYCE:  ... not you as an individual.  You were there seeking help.  You went there, they didn't right, you went there voluntarily, right?
    
    
      701
      MILLER:  Right.  It was, uh, it was all set up through ...
    
    
      702
      BOYCE:  It was all set up.
    
    
      703
      MILLER:  ... the parole board, or well, my parole officer, I believe set it up.  At that time it was, uh, Gene, uh, DiGennie, I believe his name was.
    
    
      704
      BOYCE:  DiGianni.
    
    
      705
      MILLER:  DiGianni.
    
    
      706
      BOYCE:  Frank, you're very, very nervous.  Now, I, I don't, you know, you, you're, you understand what I'm saying?
    
    
      707
      MILLER:  Yeah, I know what you're saying.
    
    
      708
      BOYCE:  Now, there's a reason for that, isn't there?
    
    
      709
      MILLER:  Yes.
    
    
      710
      BOYCE:  Do you want to tell me about it?
    
    
      711
      MILLER:  Being involved in something like this is ...
    
    
      712
      BOYCE:  Is what, does it, does it, does it visibly shake you physically?
    
    
      713
      MILLER:  Yes, it does, because, well, Officer Scott can tell you, it ain't been not even a month ago I sat right in the same room ...
    
    
      714
      BOYCE:  Uh, huh.
    
    
      715
      MILLER:  ... behind the girl that I really loved, because she was a minor her father forced her into making statements, which, she didn't lie on the statements.  I tried to cover up with Officer Scott until I heard from her and she said yes, she says, I did tell him, she says, I had to tell him.  So, then when I talked to my lawyer, you know, I admitted to him, I admitted to my parole officer, I said I'm not making a liar out of the girl, cause I love her too much and so I admitted, you know, he asked me if we were having sex ...
    
    
      716
      BOYCE:  Alright.  What ...
    
    
      717
      MILLER:  ... and, uh, I had no intentions of making a liar out of her.
    
    SIDE TWO
    
      718
      BOYCE:  Testing 1 2 3.  Testing.
    
    
      719
      BOYCE:  Now listen to me Frank.  This hurts me more than it hurts you, because I love people.
    
    
      720
      MILLER:  It can't hurt you anymore than it hurts me.
    
    
      721
      BOYCE:  Okay, listen Frank, I want you ...
    
    
      722
      MILLER:  I mean even being involved in something like this.
    
    
      723
      BOYCE:  Okay.  listen Frank, If I promise to, you know, do all I can with the psychiatrist and everything, and we get the proper help for you, and get the proper help for you, will you talk to me about it?
    
    
      724
      MILLER:  I can't talk to you about something I'm not ...
    
    
      725
      BOYCE:  Alright, listen Frank, alright, honest.  I know, I know what's going on inside you, Frank.  I want to help you, you know, between us right now.  I know what going on inside you.  Frank, you've got to come forward and tell me that you want to help yourself.  You've got to talk to me about it.  This is the only way we'll be able to work it out.  I mean, you know, listen, I want to help you, because you are in my mind, you are not responsible.  You are not responsible, Frank.  Frank, what's the matter?
    
    
      726
      MILLER:  I feel bad.
    
    
      727
      BOYCE:  Frank, listen to me, honest to God, I'm, I'm telling you, Frank (inaudible).  I know, it's going to bother you.  Frank, it's going to bother you.  It's there, it's not going to go away, it's there.  It's right in front of you, Frank.  Am I right or wrong?
    
    
      728
      MILLER:  Yeah.
    
    
      729
      BOYCE:  You can see it Frank, you can feel it, you can feel it but you are not responsible.  This is what I'm trying to tell you, but you've got to come forward and tell me.  Don't, don't, don't let it eat you up, don't, don't fight it.  You've got to rectify it, Frank.  We've got to get together on this thing, or I, I mean really, you need help, you need proper help and you know it, my God, you know, in God's name, you, you know it.  You are not a criminal, you are not a criminal.
    
    
      730
      MILLER:  Alright.  Yes, I was over there and I talked to her about the cow and left.  I left in my car and I stopped up on the road where, you know, where the cow had been and she followed me in her car ...
    
    
      731
      BOYCE:  Right.
    
    
      732
      MILLER:  ... and the cow wasn't down there and we started walking through the fields and stuff, and you could see where the cow was.
    
    
      733
      BOYCE:  Uh, huh.
    
    
      734
      MILLER:  Now, I don't know ...
    
    
      735
      BOYCE:  Now, Frank please ...
    
    
      736
      MILLER:  Wait, wait a minute.
    
    
      737
      BOYCE:  I'm sorry, I'm sorry.
    
    
      738
      MILLER:  Okay, okay.
    
    
      739
      BOYCE:  Go ahead, I'm sorry.
    
    
      740
      MILLER:  I don't know where this guy come from ...
    
    
      741
      BOYCE:  Tell me about him, I'm sorry, go ahead.
    
    
      742
      MILLER:  But ...
    
    
      743
      BOYCE:  Tell me about him Frank ...
    
    
      744
      MILLER:  Alright, he, alright, he grabbed her ...
    
    
      745
      BOYCE:  Right.
    
    
      746
      MILLER:  ... that's how I got the cut on my hand, I didn't get cut in the car.BOYCE:  Alright, tell me what happened.  Tell me what happened.  Let it come out, Frank, let it come out.  This is what you need, Frank.  I'm, it's you and me, now listen.
    
    
      747
      MILLER:  Alright now, he, you know I, tried to get ahold of him and he cut me in the hand with the knife, and he'd already cut her, and then he ran.
    
    
      748
      BOYCE:  Alright.
    
    
      749
      MILLER:  So first thing I thought, you know, try and help her.  I got her in the car and she just, you know, she just fell over and I got scared because, you know, I thought she was dead.
    
    
      750
      BOYCE:  Alright.
    
    
      751
      MILLER:  So, I got down by the bridge, I just, you know, laid her off there and got the hell out of there because I was scared, because, you know ...
    
    
      752
      BOYCE:  Let it come out, Frank.  I'm here, I'm here with you now.  I'm on your side, I'm on your side, Frank.  I'm your brother, you and I are brothers Frank.  We are brothers and I want to help my brother.
    
    
      753
      MILLER:  If I hadn't went down on that road I wouldn't even have been involved in it.
    
    
      754
      BOYCE:  Frank, listen ...
    
    
      755
      MILLER:  It was a shorter way home from, from the Post Office.  I'm not lying about that Post Office or nothing.  I came out past that cemetary and up that, up that dirt road ...
    
    
      756
      BOYCE:  Alright, let's ...
    
    
      757
      MILLER:  ... because I could have, you know, swung off at the Whitehall area, I could have swung off and went through the back way to the house.
    
    
      758
      BOYCE:  Let's, Frank, listen.  Let's go back to the Post Office, okay?    Did you go to the Post Office?
    
    
      759
      MILLER:  Yes.
    
    
      760
      BOYCE:  Okay ...
    
    
      761
      MILLER:  There was one ...
    
    
      762
      BOYCE:  Tell me ...
    
    
      763
      MILLER:  ... one woman there, I don't, I don't, I couldn't even begin to describe.
    
    
      764
      BOYCE:  Now tell me where you went.  Tell me again about this incident, okay?
    
    
      765
      MILLER:  Right.
    
    
      766
      BOYCE:  Alright Frank, tell me what happened.
    
    
      767
      MILLER:  I left the Post Office, you want to go from the Post Office, right?
    
    
      768
      BOYCE:  Uh, huh.
    
    
      769
      MILLER:  Alright.  Alright, then I stuck the letter in the mailbox, the out of town mail, and I left there and I could, went up, was gonna go up the back way because it was a shorter way home.  Then I seen this cow along the road and there was a farm there so I figured, you know, it must be their cow.  So, I went in there, and I started to get out of the car and the dogs barked so I blew the horn ...
    
    
      770
      BOYCE:  Right.
    
    
      771
      MILLER:  ... because I wasn't about, I didn't know whether this dog would bite or not.  And, I blew the horn two or three times and then this girl come out.
    
    
      772
      BOYCE:  Do you remember what the girl looked like?    What she was wearing?
    
    
      773
      MILLER:  She was wearing a two piece bathing suit, like you said.
    
    
      774
      BOYCE:  Go ahead.
    
    
      775
      MILLER:  I told her there was a cow out there and she said, yeah it's probably one that's always getting out.  And I said well do you need a help, you got anybody here to help you get it in and she says, uh, I don't need no help, she says I can get it back myself.  So, I went out, went up the road there, out the driveway, she was following me in her car.  I think a Corvair, or.  So, I stop up the road there where I, where I had seen the cow and, uh, the cow wasn't there.  She pulled up behind me, she got out of the car and I said the cow was here.  Well, you can see the marks where the cow had been and we started walking through the, through the field there, uh, it's be on your lefthand side.  And, like I say, I don't know where this guy come from.BOYCE:  Tell me what happened.
    
    
      776
      MILLER:  Well, I heard her scream.  She, I was walking more or less along the hedgerow there, or trees, whatever you want to call it.  I heard her scream and I turned around and I seen a guy there, I'd say he was maybe my height, maybe a little taller, a little smaller, and I don't know, when, when I ran up there he whipped on me, that's how I got this, and ...
    
    
      777
      BOYCE:  Listen Frank, this guy, do you know him?    Do you know where he lives?
    
    
      778
      MILLER:  No, I don't know where he lives.
    
    
      779
      (inaudible 171-173)
    
    
      780
      BOYCE:  You killed this girl didn't you?
    
    
      781
      MILLER:  No, I didn't.
    
    
      782
      BOYCE:  Honest, Frank?    It's got to come out.  You can't leave it in.  It's hard for you, I realize that, how hard it is, how difficult it is, I realize that, but you've got to help yourself before anybody else can help you.  And we're going to see to it that you get the proper help.  This is our job, Frank.  This is our job.  This is what I want to do.
    
    
      783
      MILLER:  By sending me back down there.
    
    
      784
      BOYCE:  Wait a second now, don't talk about going back down there.  First thing we have to do is let it all come out.  Don't fight it because it's worse, Frank, it's worse.  It's hurting me because I feel it.  I feel it wanting to come out, but it's hurting me, Frank.  You're my brother, I mean we're brothers.  All men on this, all men on the face of this earth are brothers, Frank, but you got to be completely honest with me.
    
    
      785
      MILLER:  I'm trying to be, but you don't want to believe me.
    
    
      786
      BOYCE:  I want to believe you, Frank, but I want you to tell me the truth, Frank, and you know what I'm talking about and I know what you're talking about.  You've got to tell me the truth.  I can't help you without the truth.
    
    
      787
      MILLER:  I'm telling you the truth.  Sure, that's her blood in the car because when I seen the way she was cut I wanted to help her, and then when she fell over I got scared to even be involved in something like this, being on parole and ...
    
    
      788
      BOYCE:  I realize this, Frank, it may have been an accident.  Isn't that possible, Frank?    Isn't that possible?
    
    
      789
      MILLER:  Sure, it's possible.
    
    
      790
      BOYCE:  Well, this is what I'm trying to bring out, Frank.  It may be something that, that you did that you can't be held accountable for.  This, I can help you, I can help you once you tell me the truth.  You know what I'm talking about.  I want to help you, Frank.  I like you.  You've been honest with me.  You've been sincere and I've been the same way with you.  Now this is the kind of relationship we have, but I can't help you unless you tell me the complete truth.  I'll listen to you.  I understand, Frank.  You have to believe that, I understand.  I understand how you feel.  I understand how much it must hurt you inside.  I know how you feel because I feel it too.  Because some day I may be in the same situation Frank, but you've got to help yourself.  Tell me exactly what happened, tell me the truth, Frank, please.
    
    
      791
      MILLER:  I'm trying to tell you the truth.
    
    
      792
      BOYCE:  Let me help you.  It could have been an accident.  You, you've got to tell me the truth, Frank.  You know what I'm talking about.  I can't help you without the truth.  Now you know and I know that's, that's, that's all that counts, Frank.  You know and I know that's what counts, that's what it's all about.  We can't hide it from each other because we both know, but you've got to be willing to help yourself.  You know, I don't think you're a criminal.  You have this problem like we talked about before, right?
    
    
      793
      MILLER:  Yeah, you, you say this now, but this thing goes to court and everything and you ...BOYCE:  No.  listen to me, Frank, please listen to me.  The issue now is what happened.  The issue now is truth.  Truth is the issue now.  You've got to believe this, and the truth prevails in the end, Frank.  You have to believe that and I'm sincere when I'm saying it to you.  You've got to be truthful with yourself.
    
    
      794
      MILLER:  Yeah, truth, you say in the end, right?    That's why I done three and a half years for ...
    
    
      795
      BOYCE:  Wait, whoa ...
    
    
      796
      MILLER:  ... for a crime that I never committed because of one stinkin detective framing me ...
    
    
      797
      BOYCE:  Frank, Frank.
    
    
      798
      MILLER:  ... by the name of Rocco.
    
    
      799
      BOYCE:  Frank, you're talking to me now.  We have, we have a relationship, don't we?    Have I been sincere with you, Frank?
    
    
      800
      MILLER:  Yeah, you ...
    
    
      801
      BOYCE:  ... Have I been honest?
    
    
      802
      MILLER:  ... Yes.
    
    
      803
      BOYCE:  Have I defined your problem, Frank?    Have I been willing to help you?    Have I stated I'm willing to help you all I can?
    
    
      804
      MILLER:  Yes.
    
    
      805
      BOYCE:  Do I mean it?
    
    
      806
      MILLER:  Yes.
    
    
      807
      BOYCE:  Whenever I talk to anybody I talk the same way, because you have a very, very serious problem, and we want to prevent anything in the future.  This is what's important, Frank, not what happened in the past.  It's right now, we're living now, Frank, we want to help you now.  You've got a lot more, a lot more years to live.
    
    
      808
      MILLER:  No, I don't.
    
    
      809
      BOYCE:  Yes, you do.
    
    
      810
      MILLER:  No, I don't.
    
    
      811
      BOYCE:  Don't say you don't.  Now you've got to tell me.
    
    
      812
      MILLER:  Not after all this, because this is going to kill my father.
    
    
      813
      BOYCE:  Listen, Frank.  There is where you, the truth comes out.  Your father will understand.  This is what you have to understand, Frank.  If the truth is out he will understand.  That's the most important thing, not, not what has happened, Frank.  The fact that you were truthful, you came forward and you said, look I have a problem.  I didn't mean to do what I did.  I have aproblem, this is what's important, Frank.  This is very important, I got, I, I got to get closer to you, Frank, I got to make you believe this and I'm and I'm sincere when I tell you this.  You got to tell me exactly what happened, Frank.  That's very important.  I know how you feel inside, Frank, it's eating you up, am I right?    It's eating you up, Frank.  You've got to come forward.  You've got to do it for yourself, for your family, for your father, this is what's important Frank.  Just tell me.  You didn't mean to kill her did you?
    
    
      814
      MILLER:  I thought she was dead or I'd have never dropped her off like that.
    
    
      815
      BOYCE:  Why, Frank?    Frank, look at me, okay?    I'm lookin at your problem now.  Just picture this, okay?    I'm lookin at your problem, okay?    You follow me?
    
    
      816
      MILLER:  Uhm.
    
    
      817
      BOYCE:  What made you do this, please tell me.  Please tell me now.  What made you do this?
    
    
      818
      MILLER:  I don't know.
    
    
      819
      BOYCE:  Alright, explain to me, how, exactly how it happened and then we'll see, maybe we can find out why it happened, alright?    Is that fair?    Just tell me how it happened and then we'll talk about why it could have happened.  This is what's important to me.
    
    
      820
      MILLER:  I don't even know.
    
    
      821
      BOYCE:  Well, just tell me what happened, tell me the truth this time.  Please, I can't help you without the truth.
    
    
      822
      MILLER:  Like I said I went, I went there because the cow was out ...
    
    
      823
      BOYCE:  I know that and ...
    
    
      824
      MILLER:  Wait, wait, alright, wait a minute.  She followed me out the driveway. We stopped up there on the road.  The cow wasn't around and we were talkin.  She got in my car.  We figured the cow might be down on the other road, or down further.
    
    
      825
      BOYCE:  You want it to happen.
    
    
      826
      MILLER:  Yes.
    
    
      827
      BOYCE:  Okay.  When you got down there, Frank, when you went down there, something happened inside you.  This is what I'm interested in, now please tell me, you've got to, yu've got to get the proper help, Frank, we want to help you.  Please tell me, Frank.
    
    
      828
      MILLER:  I don't know what happened, I really don't.
    
    
      829
      BOYCE:  Alright, but tell me, tell me how it happened, the truth this time, Frank.
    
    
      830
      MILLER:  I can't even tell ya that.
    
    
      831
      BOYCE:  Well, tell me, tell me Frank, (inaudible) ... have to be completely truthful with me the way I am with you.  It's so important, Frank, honest to God, because people believe truth.  I mean, Frank, this is hurting me, God listen.  I just want you to come out and tell me, so I can help you, that's all.  Listen, it's the right way.
    
    
      832
      MILLER:  I, I swear to God, I don't know what happened down there.
    
    
      833
      BOYCE:  Why?    Why did you do it?
    
    
      834
      MILLER:  I don't even know that.
    
    
      835
      BOYCE:  What did you, what did you cut the girl with?    What did you use, Frank?
    
    MILLER:  A penknife
    
      836
      BOYCE:  Your penknife?
    
    
      837
      MILLER:  Yes, sir.
    
    
      838
      BOYCE:  Which penknife?
    
    
      839
      MILLER:  The one you have.
    
    
      840
      BOYCE:  The one I have?
    
    
      841
      MILLER:  Yes.
    
    
      842
      BOYCE:  Where did you cut her, Frank?
    
    
      843
      MILLER:  In the throat.
    
    
      844
      BOYCE:  In the throat?
    
    
      845
      MILLER:  Uh, huh.
    
    
      846
      BOYCE:  Now, right before you cut her in the throat, what, why did you cut, did, was she fighting you off?
    
    
      847
      MILLER:  No.
    
    
      848
      BOYCE:  She wasn't fighting you?
    
    
      849
      MILLER:  No.
    
    
      850
      BOYCE:  Why do you think, where were you when you cut her in the throat?    Where were you, where were you at, at that moment?
    
    
      851
      MILLER:  Down by the bridge.
    
    
      852
      BOYCE:  Down by the bridge?
    
    
      853
      MILLER:  Yes.
    
    
      854
      BOYCE:  Were you in the vehicle or were you outside the vehicle?
    
    
      855
      MILLER:  In the car.
    
    
      856
      BOYCE:  You were in the car?
    
    
      857
      MILLER:  Yes.
    
    
      858
      BOYCE:  Okay, now, you were in the car, right?
    
    
      859
      MILLER:  Uh, huh.
    
    
      860
      BOYCE:  Did she get in the car voluntarily?
    
    
      861
      MILLER:  Yes.
    
    
      862
      BOYCE:  She did?
    
    
      863
      MILLER:  Yes.
    
    
      864
      BOYCE:  Did you ask her to get into the car?
    
    
      865
      MILLER:  Yes.
    
    
      866
      BOYCE:  What did you say to her, Frank?
    
    
      867
      MILLER:  I said, why don't we go on down the road and see if the cow's down there.
    
    
      868
      BOYCE:  And she got in the car with you?
    
    
      869
      MILLER:  Yes.
    
    
      870
      BOYCE:  Where did she get in the car with you?
    
    
      871
      MILLER:  Up on the main road.
    
    
      872
      BOYCE:  Where she parked her car?
    
    
      873
      MILLER:  Yes.
    
    
      874
      BOYCE:  Alright.  Then you drove down by the bridge.
    
    
      875
      MILLER:  Right.
    
    
      876
      BOYCE:  Okay, now.  What happened in the car?    Where did you have your knife?
    
    
      877
      MILLER:  In my pocket.
    
    
      878
      BOYCE:  In your pocket?
    
    
      879
      MILLER:  Yes.
    
    
      880
      BOYCE:  And, when did you take it out?
    
    
      881
      MILLER:  From there everything's a blank.
    
    
      882
      BOYCE:  Well ...MILLER:  I didn't, as far as what, you know, what really ...
    
    
      883
      BOYCE:  Alright, well where did you cut her with the knife?
    
    
      884
      MILLER:  In the car.
    
    
      885
      BOYCE:  Did she fight you in anyway.
    
    
      886
      MILLER:  No.
    
    
      887
      BOYCE:  Did you cut any other part of her body, Frank?
    
    
      888
      MILLER:  No, not that I, no, not that I know of.
    
    
      889
      BOYCE:  Did you bite her in anyway, Frank?
    
    
      890
      MILLER:  No, not that I know of.
    
    
      891
      BOYCE:  Not that you know of?
    
    
      892
      MILLER:  No.
    
    
      893
      BOYCE:  Did she bleed a lot in the car, Frank?
    
    
      894
      MILLER:  Some, yes.
    
    
      895
      BOYCE:  What happened to the blood that was in the car, Frank?    Did you clean the car, Frank?    Did you clean the car out after the blood was in the vehicle?
    
    
      896
      MILLER:  There wasn't really, no, I, I just, you know, wiped what little bit was on the seat.
    
    
      897
      BOYCE:  Alright.  After you cut her throat, now, what did you do then?    After that, after that happened, what did you do then, Frank?
    
    
      898
      MILLER:  I don't know, I, everything just, everything's a blank, really.
    
    
      899
      BOYCE:  Well, try and remember now.  What, did you get out of the vehicle?
    
    
      900
      MILLER:  I guess.  Yeah, I, I got, I got out of the car and I took her out of the car ...
    
    
      901
      BOYCE:  Alright, then what did you do?
    
    
      902
      MILLER:  Carried her over the bridge.
    
    
      903
      BOYCE:  Threw her over the bridge?
    
    
      904
      MILLER:  Yes.
    
    
      905
      BOYCE:  Did, then, after you threw her over the bridge, then what did you do, Frank?
    
    
      906
      MILLER:  I didn't do, I don't know.
    
    
      907
      BOYCE:  Did you drag, did you drag her any further after you threw her over the bridge?
    
    
      908
      MILLER:  I don't think so, no.
    
    
      909
      BOYCE:  Try and remember now, it's very important.  I'm sure you can understand that, right?
    
    
      910
      MILLER:  Yeah.
    
    
      911
      BOYCE:  Try and remember now.  You threw her over the bridge ...
    
    
      912
      MILLER:  Yeah.
    
    
      913
      BOYCE:  ... Now, did you go down and look at her again?
    
    
      914
      MILLER:  I don't really know.
    
    
      915
      BOYCE:  Okay.  Did you, did you have sexual relations with her, Frank?
    
    
      916
      MILLER:  Not that I know of.
    
    
      917
      BOYCE:  Are you sure now?    Think hard.  Think hard now, while you were in the car?
    
    
      918
      MILLER:  I don't think so.
    
    
      919
      BOYCE:  Alright.  After she, after you threw her out over the bridge?
    
    
      920
      MILLER:  Yeah.
    
    
      921
      BOYCE:  Is that where you had the sexual relations with her?
    
    
      922
      MILLER:  I don't think I did.
    
    
      923
      BOYCE:  Did you remove any of her clothing, Frank?
    
    
      924
      MILLER:  I don't believe so, no.  I don't really know.
    
    
      925
      BOYCE:  Alright.  Now think about, did you try and drag her body anywhere?
    
    
      926
      MILLER:  I don't think so.
    
    
      927
      BOYCE:  Did you drag the body up towards the water anywhere?
    
    
      928
      MILLER:  I don't think so, no.  I say I, I don't know, I ...
    
    
      929
      BOYCE:  Where, once again now, you're in the car with her right?
    
    
      930
      MILLER:  Uh, huh.
    
    
      931
      BOYCE:  Now, did you pull the knife out right away?    What did you say to her, Frank, before you pulled the knife out?    Did you ask her anything?
    
    
      932
      MILLER:  I don't know if I did or not.
    
    
      933
      BOYCE:  And you said the pocket knife, what pocketknife were you referring to now, that you used.
    
    
      934
      MILLER:  The one you have.
    
    
      935
      BOYCE:  The one that you gave me at PFD Plastics?
    
    
      936
      MILLER:  Yeah.BOYCE:  And whereabouts did you cut her?
    
    
      937
      MILLER:  In the throat.
    
    
      938
      BOYCE:  In the throat?    Is there any reason why you cut her in the throat, Frank?
    
    
      939
      MILLER:  No, not that I know of.
    
    
      940
      BOYCE:  Did you, did you caress her breasts in anyway?
    
    
      941
      MILLER:  No.
    
    
      942
      BOYCE:  Was she an attractive girl?
    
    
      943
      MILLER:  Um, I'd say so, yes.
    
    
      944
      BOYCE:  About what time was that, Frank?
    
    
      945
      MILLER:  I'm not sure.
    
    
      946
      BOYCE:  About what time?
    
    
      947
      MILLER:  Well, I was at the Post Office around, I figure 11 o'clock, so it had to be after that.
    
    
      948
      BOYCE:  It happened sometime after that, about, about how long?
    
    
      949
      MILLER:  I'd say maybe five after, ten after, something like this.  That's about all the time it would take to go from the Post Office to there.
    
    
      950
      BOYCE:  And what road were you on when this, when you cut her throat in the vehicle, what road were you on?
    
    
      951
      MILLER:  I don't know the road exactly.
    
    
      952
      BOYCE:  Was it a dirt road, Frank?
    
    
      953
      MILLER:  Yes.
    
    
      954
      BOYCE:  It was a dirt road?
    
    
      955
      MILLER:  Yes.
    
    
      956
      BOYCE:  Did you see anybody at the house when you were there?
    
    
      957
      MILLER:  Just her.
    
    
      958
      BOYCE:  Did you see any of her brothers?
    
    
      959
      MILLER:  No.
    
    
      960
      BOYCE:  Did you see anyone else?
    
    
      961
      MILLER:  No.  No one came out but her.
    
    
      962
      BOYCE:  Did you cut any other portion of her body, Frank?    Just, just think hard, now, take your time, ah.  You know, I realize that, you know, that, just take your time and think, did you cut any portion of her body?    Did you cut her breasts?
    
    
      963
      MILLER:  No.
    
    
      964
      BOYCE:  Are you sure, Frank?
    
    
      965
      MILLER:  Positive.
    
    
      966
      BOYCE:  Did you bite her in anyway?
    
    
      967
      MILLER:  I don't think ...
    
    
      968
      BOYCE:  Tell me the truth, Frank.  Honest?  You've been so honest with me so far, you've been truthful, you've been honest, you've been sincere.  Now, after you threw, how did you, which car, which car did you, uh, side of the car did you draft her out of?
    
    
      969
      MILLER:  The driver's side.
    
    
      970
      BOYCE:  Driver's side?
    
    
      971
      MILLER:  Yeah.
    
    
      972
      BOYCE:  I see.  Did you clean your car in anyway?
    
    
      973
      MILLER:  Yeah.
    
    
      974
      BOYCE:  Where, where did you clean your car, Frank?
    
    
      975
      MILLER:  I used the hose at home.
    
    
      976
      BOYCE:  At home?
    
    
      977
      MILLER:  Yeah, in the driveway.
    
    
      978
      BOYCE:  And did you enter your house through the front door, Frank?
    
    
      979
      MILLER:  Through the breezeway.
    
    
      980
      BOYCE:  Through the breezeway?
    
    
      981
      MILLER:  Yeah.
    
    
      982
      BOYCE:  Where are the rags?    What did you use to clean the car out with?
    
    
      983
      MILLER:  I just used the hose.
    
    
      984
      BOYCE:  The hose?
    
    
      985
      MILLER:  Yeah.
    
    
      986
      BOYCE:  You washed it out?
    
    
      987
      MILLER:  Yes.
    
    
      988
      BOYCE:  Where was the vehicle when you washed it out, Frank?
    
    
      989
      MILLER:  In the driveway.
    
    
      990
      BOYCE:  In the driveway?    Did you use any type of rag on the inside of the car?
    
    
      991
      MILLER:  Just a ... no.
    
    
      992
      BOYCE:  Are you sure, Frank?
    
    
      993
      MILLER:  There was a ... I had a paper bag, a brown paper bag and the ... I just wiped some of the water off of the seat and stuff.
    
    
      994
      BOYCE:  Where is the brown paper bag now, Frank?    What did you do with it?
    
    
      995
      MILLER:  I threw it away.
    
    
      996
      BOYCE:  Where did you throw it, Frank?MILLER:  Driving along the road on my way up to Flemington.
    
    
      997
      BOYCE:  Where, do you remember on which road you were, or how far you were away from the house when you threw it out the window?
    
    
      998
      MILLER:  No, I don't.
    
    
      999
      BOYCE:  You don't have any idea, Frank?
    
    
      1000
      MILLER:  No.
    
    
      1001
      BOYCE:  Now, did you actually throw her over the, uh, the fence then the rail?
    
    
      1002
      MILLER:  Yes.
    
    
      1003
      BOYCE:  You did?
    
    
      1004
      MILLER:  Yes.
    
    
      1005
      BOYCE:  Did you go, after you threw her over the fence, did you go and look at her again to see if she was dead?
    
    
      1006
      MILLER:  I don't believe I did, no.
    
    
      1007
      BOYCE:  Was there anyone with you, Frank, when this occurred, or were you alone?    You indicated before that you were alone, were you alone with her when this happened?
    
    
      1008
      MILLER:  Yeah.
    
    
      1009
      BOYCE:  I see.  Were you driving your car, Frank?
    
    
      1010
      MILLER:  Yeah.
    
    
      1011
      BOYCE:  What kind of a car do you drive?
    
    
      1012
      MILLER:  a white Mercury.
    
    
      1013
      BOYCE:  What year is that Mercury?
    
    
      1014
      MILLER:  '69.
    
    
      1015
      BOYCE:  '69?    Is there any damage, is there any damage to your vehicle?
    
    
      1016
      MILLER:  Yes.
    
    
      1017
      BOYCE:  Where is the damage?
    
    
      1018
      MILLER:  Righthand side.
    
    
      1019
      BOYCE:  Is your trunk tied down?
    
    
      1020
      MILLER:  Yes.
    
    
      1021
      BOYCE:  Alright.  I've indicated before that you would be willing to sit down with me and the Assistant Prosecutor and indicate to him, like you said, that you have a problem.
    
    
      1022
      MILLER:  uh, huh.
    
    
      1023
      BOYCE:  Would you be willing to sit down with us while we take a statement from you?
    
    
      1024
      MILLER:  Yes.
    
    
      1025
      BOYCE:  So it can be incorporated, you follow me?
    
    
      1026
      MILLER:  Yeah.
    
    
      1027
      BOYCE:  In order to help you.
    
    
      1028
      MILLER:  Uh, huh.
    
    
      1029
      BOYCE:  Would you be willing to do that?
    
    
      1030
      MILLER:  Uh, huh.
    
    
      1031
      BOYCE:  Now, is there anything I can get you now?    You want coffee?
    
    
      1032
      MILLER:  No.
    
    
      1033
      BOYCE:  You want to just sit here for awhile?
    
    
      1034
      MILLER:  Yes.
    
    
      1035
      The time now is 2:45 A.M.  Statement concluded at this time.  Statement and interrogation concluded at this time.
    
    
      
        1
         Neither the adequacy of the Miranda warnings nor the validity of the waiver is at issue
      
      
        2
         We discuss this technique in detail infra
      
      
        3
         The quote is taken from the unpublished opinion of the appellate division, State v. Miller, No. A-1275-73 (N.J.App.October 27, 1975)
      
      
        4
         Section 2254(d) provides that a state court factual finding is entitled to a "presumption of correctness" in a federal habeas corpus proceeding unless one of eight enumerated exceptions applies.  Conceding that the "concept of voluntariness is not one that lends itself to easy description," 741 F.2d at 1463, we concluded that recent decisions of the Supreme Court indicated that the inference as to a defendant's state of mind should no longer be considered a "legal" or "hybird" question, but rather a question of "ultimate fact."    Id
      
      
        5
         We reject the dissent's contention that we have selectively picked and chosen from the transcript in attempting to demonstrate the voluntariness of the confession, and we welcome the dissent's decision to attach the entire transcript, which will demonstrate that our reading was fair
      
      
        6
         This is simply another way of saying what we stated earlier--that there is no per se rule against the use of psychological tactics in interrogations
      
      
        7
         Judge Gibbons argues in dissent that "the interrogation of Miller has no purpose other than obtaining admissions that could be used to charge Miller with felony murder," and that, apparently as a matter of law, "such an interrogation requires the closest scrutiny."    Dissenting opinion, at 615.  The factual premise of this argument is stated at page 615:
        Thus the police did not need to conduct an interrogation directed at investigating the murder--it was already solved so far as they were concerned.
        Hence, the dissent concludes, there was a "complete absence of any legitimate investigative purpose for the interrogation," Dissenting opinion, at 615.
        This line of argument, never advanced by Miller's able counsel, is flawed.  First, the evidence that the police already had--principally the description given by Ms. Margolin's brothers of an automobile just like Miller's and of a person generally fitting Miller's characteristics whom one of the brothers had seen shortly before the homicide--was not enough to solve the crime.  Indeed, Judge Gibbons himself stresses the inconclusiveness of this evidence at a later point in the opinion.  See dissenting opinion, at 617.  Neither a lineup nor the development of evidence undermining Miller's alibi would necessarily have filled the gap.
        Second, the dissent implies that the interrogation would have been inappropriate as a matter of law even if it had been conducted according to Hoyle.  We disagree.  It is well settled that interrogation is a legitimate police investigative tool which the police have a right to pursue no matter how strong the other evidence of a suspect's guilt may be.  It is obviously desirable for the police to get as much exact information as they can in any criminal case, and especially in a first-degree murder case, so as to reduce to an absolute minimum the possibility that an innocent person will be convicted.  Indeed we have found no support for the dissent's novel suggestion that even if the police have conclusive evidence of the identity of an offender, it is improper to interrogate him.
      
      
        8
         See also Stein v. New York, supra, 346 U.S. at 185-86, 73 S.Ct. at 1093-94 (holding confessions voluntary and noting that "[t]hese men were not young, soft, ignorant or timid.  They were not inexperienced in the ways of crime or its detection, nor were they dumb as to their rights.");   Martin v. Wainwright, 770 F.2d 918, 926 (11th Cir.1985) (in holding confession voluntary court noted that detainee previously had pled guilty to three counts of second-degree murder and one count of arson, for which he had been sentenced to 18 to 30 years in prison, and was on parole at the time of the events relevant to the interrogation).   Cf. Reck v. Pate, supra, 367 U.S. at 441, 81 S.Ct. at 1546 (detainee had no prior criminal record or experience with the police)
      
      
        9
         Distinguishing factors in Leyra are described infra at 612
      
      
        10
         While it is true, as the dissent points out, that other federal circuit courts have cited the Bram test, these courts have not applied it as a per se proscription of promises made in the interrogation room.  Rather, as we explained above, these courts have inquired into whether the promise induced the confession by overbearing the will of the accused.  The discussion of promises in Jarrell v. Balkcom, 735 F.2d 1242 (11th Cir.1984), exemplifies this approach, although the dissent cites it to prove that Bram has been interpreted as rendering all promises during interrogations invalid
        In Jarrell, 735 F.2d at 1250, the Eleventh Circuit cited Bram to support the proposition that "confessions induced by promised benefits are inadmissible."    Although this statement seems to be a flat prohibition against the making, of promises during an interrogation, the court's analysis follows a totality of the circumstances test.
        The court noted that the detainee had initiated the subjects of psychiatric help and police protection against the vengeance of the victim's husband.  Id. at 1250, 1251.  It also pointed out that the detainee was in control of his faculties while confessing.  Id. at 1250.  The court concluded that the alleged promise of police protection did not render the confession inadmissible because "the officer's statement [about police protection] was neither likely to nor intended to induce confession."    Id. at 1251.  As for the statements about psychiatric help, it found "no promised benefit inferrable" therefrom.
        While the court conforms to a strict reading of Bram by finding that there were no promises, the analysis it uses is not a per se test, but an inquiry into whether the challenged statement overbore the will of the detainee.  The inquiry is really whether, under the totality of the circumstances, the statement induced the confession, not whether it was, on its face, a promise.
      
      
        11
         The detective informed the accused that another person had seen him commit the murder, 168 U.S. at 562, 18 S.Ct. at 194, and that he should tell the detective if he had an accomplice in order to avoid having "the blame of this horrible crime on your own shoulders."   Id. at 564, 18 S.Ct. at 195.  The Court interpreted the second statement as an offer of a benefit
      
      
        12
         But see White, Police Trickery in Inducing Confessions, 127 U.Pa.L.Rev. 581, 623 (1979), in which the author argues that all promises of tangible benefits made by police during interrogation in order to elicit a confession should be proscribed under a per se rule.  According to Professor White, "the difficulty of assessing the effect on the suspect subjected to the interrogation suggests that with respect to this issue the totality of the circumstances test does not provide effective protection for the suspect's constitutional rights."    Id
        We are not convinced, however, that the application of the totality of the circumstances test to this issue is significantly more difficult than its application to other factors affecting voluntariness.
      
      
        13
         The dissent states that we do not make much of Miller's collapse.  However, we recognize the possibility that the human psyche, upon being released from the terrible burden of concealing such a heinous crime, might well react just as Miller's did after a confession
      
      
        1
         In this instance the New Jersey judges, all of whom recognized they were deciding a legal issue, were badly divided.  Six of eleven New Jersey judges who considered the issue of voluntariness found the confession in issue to be involuntary
      
      
        2
         The majority misreads Brady and Hutto, stating, "Apparently, the words 'obtained by ... promises' in the Bram test have been read to mean 'obtained because the suspect's will was overcome by ... promises.' "    Majority opinion at 608.  This is an unfair and misleading treatment of those cases, tantamount to the unfair and misleading treatment of the record
      
      
        3
         The mode of interrogation revealed in this record is similar to that relentless psychological pressure condemned in Leyra v. Denno, 347 U.S. 556, 558-60, 74 S.Ct. 716, 717-19, 98 L.Ed 948 (1954).  The deception practiced upon Miller is no different in kind from that practiced in Turner v. Pennsylvania, 338 U.S. 62, 63-65, 69 S.Ct. 1352, 1352-53, 93 L.Ed. 1810 (1949)
      
      
        4
         The majority refers to, and applies, the totality of the circumstances test as if that test meant that no legal rules applied.  The test, however, does not stand for such an absurd proposition.  Instead, the totality of the circumstances test requires that the court review the entire record and not focus on single components.  Legal rules still apply if, under all the circumstances, the suspect's constitutional rights have been violated.  In Miller's case, there are no mitigating factors to offset the effects of Boyce's repeated promises
      
      
        *
         This Appendix is a reprint of a copy of the transcript of the tape-recorded interrogation.  The transcript was offered into evidence at Miller's trial as Exhibit 4.  The transcript is reprinted verbatim, typos included
      
    
    